USCA Case #23-1174   Document #2081045     Filed: 10/21/2024   Page 1 of 74



                       No. 23-1174 (L), 23-1221

                                IN THE
     United States Court of Appeals for the District of
                    Columbia Circuit
                    CITY OF PORT ISABEL, ET AL.,
                                                Petitioners,
                                v.
              FEDERAL ENERGY REGULATORY COMMISSION,
                                              Respondent,

      RIO BRAVO PIPELINE COMPANY, LLC; RIO GRANDE LNG, LLC
                                   Intervenors for Respondent.

            On Petition for Review of Orders of the Federal
                   Energy Regulatory Commission

      INTERVENOR RIO GRANDE LNG, LLC’S PETITION
         FOR REHEARING OR REHEARING EN BANC

   Paul D. Clement                   Robert M. Loeb
   Matthew D. Rowen                  ORRICK, HERRINGTON &
   Kevin Wynosky                       SUTCLIFFE LLP
   CLEMENT & MURPHY, PLLC            2100 Pennsylvania Ave., NW
   706 Duke Street                   Washington, DC 20037
   Alexandria, VA 22314              (202) 339-8400

   Geoffrey C. Shaw                  Lisa M. Tonery
   Elizabeth A. Bixby                Andrew D. Silverman
   ORRICK, HERRINGTON &              Emily Villano
     SUTCLIFFE LLP                   ORRICK, HERRINGTON &
   355 S. Grand Avenue, Ste. 2700      SUTCLIFFE LLP
   Los Angeles, CA 90071             51 West 52nd Street
                                     New York, NY 10019

             Counsel for Intervenor Rio Grande LNG, LLC
USCA Case #23-1174             Document #2081045                    Filed: 10/21/2024          Page 2 of 74



                                  TABLE OF CONTENTS

TABLE OF AUTHORITIES ..................................................................... ii
GLOSSARY .............................................................................................. v
INTRODUCTION AND RULE 35(b) STATEMENT ............................... 1
STATEMENT OF FACTS ........................................................................ 5
ARGUMENT ............................................................................................ 8
I.      The Panel’s Merits Decision Mandating A SEIS Is Contrary
        To Precedent And Lacks Statutory Authorization. ........................ 8
        A.      Requiring further NEPA process here conflicts with
                precedent of the Supreme Court, this Court, and sister
                circuits. ................................................................................... 8
        B.      The panel’s harmless-error ruling conflicts with Circuit
                precedent. ............................................................................. 11
        C.      Authorization cannot hinge on environmental-justice
                analyses. ............................................................................... 13
II.     The Panel’s Test For Vacatur Conflicts With Precedent Of
        This Circuit And Others, Will Cause Unjustified
        Devastation, And Exceeds The Court’s Authority........................ 15
        A.      The panel’s approach is contrary to Circuit precedent. ...... 15
        B.      The panel’s vacatur test creates a circuit split.................... 18
        C.      Allied-Signal compels remand without vacatur here. ........ 19
        D.      If the full Court denies review, the panel must at
                minimum clarify that it did not vacate the original
                authorization order. ............................................................. 22
CONCLUSION ....................................................................................... 23
ADDENDUM
Exhibit A: Panel Opinion
Exhibit B: Certificate as to Parties, Rulings, and Related Cases
Exhibit C: Corporate Disclosure Statement
CERTIFICATE OF SERVICE
CERTIFICATE OF COMPLIANCE

                                                      i
USCA Case #23-1174           Document #2081045               Filed: 10/21/2024       Page 3 of 74



                             TABLE OF AUTHORITIES

                                                                                        Page(s)

Cases

Allied-Signal v. Nuclear Regulatory Comm’n,
   988 F.2d 146 (D.C. Cir. 1993) ................................................ 3, 5, 15-20

Black Warrior Riverkeeper, Inc. v. Army Corps of Eng’rs,
  781 F.3d 1271 (11th Cir. 2015) ........................................................... 18

Central Maine Power Co. v. FERC,
  252 F.3d 34 (1st Cir. 2001) ............................................................ 18-19

Citizens for Clean Air & Clean Water in Brazoria
   Cnty. v. DOT,
   98 F.4th 178 (5th Cir. 2024) ............................................................... 11

Ctr. for Food Safety v. Regan,
  56 F.4th 648 (9th Cir. 2022) .......................................................... 18-19

Food & Water Watch v. FERC,
  28 F.4th 277 (D.C. Cir. 2022).............................................................. 16

Food & Water Watch v. U.S. Dep’t of Agric.,
  1 F.4th 1112 (D.C. Cir. 2021).............................................................. 14

Friends of Cap. Crescent Trail v. Fed. Transit Admin.,
   877 F.3d 1051 (D.C. Cir. 2017) ............................................................. 9

Friends of the River v. FERC,
   720 F.2d 93 (D.C. Cir. 1983) ......................................................... 11, 12

Healthy Gulf v. FERC,
  107 F.4th 1033 (D.C. Cir. 2024).................................................... 16, 21

Marsh v. Or. Nat. Res. Council,
  490 U.S. 360 (1989) ................................................................... 9, 10, 11

Metro. Edison Co. v. People Against Nuclear Energy,
  460 U.S. 766 (1983) ........................................................................ 13-14


                                                 ii
USCA Case #23-1174            Document #2081045                 Filed: 10/21/2024         Page 4 of 74



N. Idaho Cmty. Action Network v. DOT,
   545 F.3d 1147 (9th Cir. 2008) ............................................................. 10

N. Nat. Gas Co.,
   184 FERC ¶ 61,186 ............................................................................. 14

No Mid-Currituck Bridge-Concerned Citizens v. N.C. Dep’t of
  Transp.,
  60 F.4th 794 (4th Cir. 2023) .......................................................... 10-11

NRDC v. EPA,
  808 F.3d 556 (2d Cir. 2015) ................................................................ 19

Oglala Sioux Tribe v. Nuclear Regul. Comm’n,
  896 F.3d 520 (D.C. Cir. 2018) ............................................................. 16

Seven Cnty. Infrastructure Coal. v. Eagle Cnty.,
  No. 23-975 (U.S.) ................................................................................... 2

Sierra Club v. EPA,
   60 F.4th 1008 (6th Cir. 2023) ............................................................. 18

Sierra Club v. FERC,
   867 F.3d 1357 (D.C. Cir. 2017) ........................................................... 14

Stand Up for California! v. U.S. Dep’t of the Interior,
  994 F.3d 616 (D.C. Cir. 2021) ......................................................... 9, 12

Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs,
  985 F.3d 1032 (D.C. Cir. 2021) ............................................... 17, 18, 19

Tx. Ass’n of Mfrs. v. CPSC,
  989 F.3d 368 (5th Cir. 2021) ............................................................... 18

Vecinos para el Bienestar de la Comunidad Costera v. FERC,
  6 F.4th 1321 (D.C. Cir. 2021)................................................ 5, 8, 19, 22

Wisconsin v. Weinberger,
  745 F.2d 412 (7th Cir. 1984) ............................................................... 11




                                                   iii
USCA Case #23-1174             Document #2081045                 Filed: 10/21/2024        Page 5 of 74



Statutes

15 U.S.C. § 717b(a) .................................................................................... 1

15 U.S.C. § 717r....................................................................................... 22

42 U.S.C. § 4332(2)(C) ............................................................................... 9

42 U.S.C. § 4342 ...................................................................................... 14

42 U.S.C. § 4344 ...................................................................................... 14

42 U.S.C. § 7661a(d) ................................................................................ 13

44 U.S.C. § 3502(5) .................................................................................. 14

Other Authorities

40 C.F.R. part 70 ..................................................................................... 13

59 Fed. Reg. 7,629 (Feb. 11, 1994) .......................................................... 14

86 Fed. Reg. 7,619 (Jan. 27, 2021) .......................................................... 14

Brief for Pet’rs, Seven Cnty. Infrastructure Coal. v. Eagle
  Cnty., No. 23-975 (U.S. Aug, 28, 2024) ............................................... 14

FERC Dkt. No. CP22-17-000 (Aug. 20, 2024) ......................................... 20




                                                   iv
USCA Case #23-1174   Document #2081045      Filed: 10/21/2024   Page 6 of 74



                             GLOSSARY

CCS             Carbon capture and sequestration

CEQ             Council on Environmental Quality

ECF No.         Electronic Case Filing Number

EIS             Environmental Impact Statement, refers to the Final
                Environmental Statement, Rio Grande LNG Project
                (Apr. 2019) (R. 1277), JA246-406

FERC            Federal Energy Regulatory Commission

GVR             Grant, vacate, and remand

JA              Joint Appendix (Doc. 2044251)

LNG             Liquefied natural gas

NEPA            National Environmental Policy Act, 42 U.S.C. § 4321 et
                seq.

Op.             Opinion (D.C. Cir. Aug. 6, 2024)

Rio Bravo       Respondent-Intervenor Rio Bravo Pipeline Company,
                LLC

SEIS            Supplemental Environmental Impact Statement

TCEQ            Texas Commission on Environmental Quality

Texas LNG       Respondent-Intervenor, Texas LNG Brownsville LLC




                                   v
USCA Case #23-1174   Document #2081045       Filed: 10/21/2024   Page 7 of 74



             INTRODUCTION AND RULE 35(b) STATEMENT

      Intervenor Rio Grande LNG, LLC petitions for rehearing and

rehearing en banc. En banc review is necessary because the panel

opinion conflicts with Circuit and Supreme Court precedent, creates

multiple circuit splits, and causes needless unjustified devastation.

      Five years ago, after extensive environmental review, FERC

authorized the Rio Grande project: an $18.4-billion liquefied natural gas

(“LNG”) facility set to supply approximately 6% of the world’s current

LNG needs when fully built. FERC determined that the project’s only

significant environmental impacts were visual—i.e., it could be seen by

people nearby or who climb a local lighthouse. FERC approved the

project, because even accounting for visual impacts, the project

overwhelmingly serves the public interest and thus must be authorized

under 15 U.S.C. § 717b(a). A prior panel in this case considered similar

NEPA issues and remanded without vacatur, allowing this critical

infrastructure project to proceed. But now, three years later, the project

may collapse entirely, because of a vacatur order unmoored from

NEPA’s text, established Circuit law, and infrastructure financing

realities.



                                    1
USCA Case #23-1174    Document #2081045       Filed: 10/21/2024   Page 8 of 74



     En banc review is required. There is neither a NEPA violation nor

justification for vacatur. Both aspects of the panel’s ruling are not just

wrong as a matter of law and common sense, they conflict with Circuit

precedent and create significant circuit conflicts.

     Start with the merits ruling. The Rio Grande project’s impacts

have already been thoroughly vetted by FERC—twice. Requiring even

more extensive process where the additional data is not significant is

contrary to Circuit and Supreme Court precedent and NEPA’s plain

text. The panel’s ruling exemplifies broader problems with this Court’s

endless-process/no-good-deed-goes-unpunished approach to NEPA—

providing an extreme version of an approach which has already caught

the Supreme Court’s attention. See Seven Cnty. Infrastructure Coal. v.

Eagle Cnty., No. 23-975 (U.S.) (cert. granted June 24, 2024). There is

no basis for subjecting major infrastructure projects to endless rounds

of process. Indeed, the purported NEPA error here is premised on an

environmental-justice framework that lacks any congressional

authorization. That framework comes from (1) the Council for

Environmental Quality (“CEQ”), which has no statutory authority to

issue binding rules, and (2) a pair of Executive Orders that, by their



                                     2
USCA Case #23-1174   Document #2081045        Filed: 10/21/2024   Page 9 of 74



own terms, do not apply to FERC and create no enforceable rights.

Properly understood, there is no NEPA violation here at all. En banc

review is needed to limit NEPA review to congressionally-enacted

standards and avoid an intra-circuit split.

     The panel’s dangerous approach to remedy is even more

problematic. The panel ordered vacatur without considering either

whether FERC would likely deny reauthorization on remand or whether

vacatur would cause massive harms. The panel instead applied a test

under which vacatur is near-automatic, even when reauthorization is

near-inevitable. This newfound standard conflicts with this Court’s

well-established Allied-Signal test.

     It will also cause needless devastation: The panel’s misguided test

gave no weight to the enormous practical costs of vacatur here. It will

not only bring a multibillion-dollar project to a grinding halt, but may

send the project’s financing—and thus the entire enterprise—into a

death-spiral. As numerous amici will attest, the consequences would be

calamitous:




                                       3
USCA Case #23-1174    Document #2081045       Filed: 10/21/2024   Page 10 of 74



      • The loss of thousands of high-paying jobs in a community with

        one of the country’s highest unemployment rates. Today,

        approximately 1,700 workers are employed on site; absent

        vacatur that number would soon grow to 5,000.

      • Terminating Rio Grande’s environmental and community

        development initiatives. Rio Grande is working to create and

        restore wetlands, and is spending $400 million to deepen the

        Brownsville Ship Channel. Rio Grande’s loss of FERC

        authorization would end these and other initiatives, leaving the

        area in a half-baked shambles.

      • Rio Grande’s global customers will lose a critical source of LNG

        at a time when many U.S. allies are desperately trying to avoid

        the need to purchase gas from Russia.

      Simply put, the decision defies common sense. A perceived

procedural agency foot-fault is no basis to place a hugely beneficial

project at existential risk when there is no reason to doubt that

authorization of the project is in the public interest.




                                     4
USCA Case #23-1174    Document #2081045       Filed: 10/21/2024   Page 11 of 74



                        STATEMENT OF FACTS

        1. Rio Grande commenced the FERC approval process for its

proposed export terminal in 2016. FERC spent three years preparing a

detailed environmental impact statement (“EIS”), spanning 2,300

pages. After affording the public ample opportunity to comment, FERC

concluded that the project’s only significant impacts were visual and

that the terminal was in the public interest. FERC accordingly

authorized the project in 2019. Vecinos para el Bienestar de la

Comunidad Costera v. FERC, 6 F.4th 1321, 1326-27 (D.C. Cir. 2021).

        Environmental groups sought review; a prior panel rejected all

except two of the challenges. The Court concluded that FERC provided

insufficient explanation for why it chose to analyze impacts on

environmental-justice communities only within a two-mile radius. Id.

at 1330-31. Applying this Court’s Allied-Signal test, the Court

remanded without vacatur, finding it “reasonably likely that on

remand” FERC would “‘reach[] the same result’” and reauthorize the

project, while vacatur would cause “needless[] disrupt[ion].” Id. at

1332.




                                     5
USCA Case #23-1174   Document #2081045       Filed: 10/21/2024   Page 12 of 74



      2. On remand, FERC expanded its environmental-justice review to

a 50-kilometer/31-mile radius—including the furthest conceivable

impacts of the project. JA57. FERC solicited public input on the 31-

mile-radius data, receiving and responding to over 150 comments.

JA40; see also JA1-176, 689-727. The broader analysis revealed just

one significant impact, the same one FERC had previously identified:

facilities would be “visible to residents and visitors” nearby and from

“elevated sites,” like the Port Isabel Lighthouse. JA77, JA93. While

FERC determined that other impacts would be predominantly borne by

environmental-justice communities, those impacts were still

insignificant. JA93. FERC again concluded the project is in the public

interest and ordered reauthorization. JA93-95.

      3. On a second petition for review, however, a different panel

vacated and remanded, concluding that FERC’s consideration of data

from the larger radius meant that FERC needed to prepare a

supplemental EIS (“SEIS”)—even though the data reinforced FERC’s

earlier conclusion that the only significant impacts were visual, and

mostly limited to communities within the two-mile radius FERC

originally studied. Op.12-17.



                                    6
USCA Case #23-1174   Document #2081045         Filed: 10/21/2024   Page 13 of 74



      The panel also held that FERC should have reviewed Rio Grande’s

intervening proposal to build a carbon capture and sequestration

(“CCS”) system as a “connected action,” even though the LNG project

can operate without one. Op.20-23. The panel understood that Rio

Grande could withdraw the voluntary CCS proposal, which would

“moot[] the connected-action issue,” Op.23-24, but held that FERC

would then have to consider CCS as a potential “reasonable alternative”

to mitigate environmental effects, Op.23-26.

      Based on these perceived errors, the panel ordered vacatur.

Op.34. In doing so, it refused to consider either “‘whether the ultimate

action could be justified’” on remand or the “significant disruption”

vacatur could cause. Op.33-34.




                                    7
USCA Case #23-1174   Document #2081045        Filed: 10/21/2024   Page 14 of 74



                              ARGUMENT

I.    The Panel’s Merits Decision Mandating A SEIS Is Contrary
      To Precedent And Lacks Statutory Authorization.

      The panel erred in finding a reversible NEPA violation. It defies

reason to hold that FERC must engage in even more process (i.e.,

preparing a SEIS) when FERC already went above and beyond in its

environmental-justice analysis1 and the additional data simply

reconfirmed that the only significant impacts are visual. It also flouts

precedent, statutory text, and basic administrative-law principles. And

it exemplifies this Court’s endless-process/no-good-deed-goes-

unpunished approach to NEPA.

        A.    Requiring further NEPA process here conflicts
              with precedent of the Supreme Court, this Court,
              and sister circuits.

      Precedent from this Court and the Supreme Court confirm that

FERC complied with its NEPA obligations and was not required to

issue a SEIS to confirm that communities up to 31 miles away will

suffer no greater visual impacts than the communities within two miles

that FERC already studied.


1 Even though Vecinos required only an explanation, FERC expanded

the radius of its environmental justice analysis to 31 miles for all
impacts. 6 F.4th at 1330-31.

                                     8
USCA Case #23-1174    Document #2081045        Filed: 10/21/2024   Page 15 of 74



      NEPA does not provide some separate, lower standard for SEISs.

It requires agencies to prepare an EIS only for “major Federal actions

significantly affecting the quality of the human environment.” 42

U.S.C. § 4332(2)(C). Consistent with that plain text, the Supreme

Court requires SEISs only when agencies obtain new information

“sufficient to show that” the action “will ‘affect[] the quality of the

human environment’ in a significant manner or to a significant extent

not already considered.” Marsh v. Or. Nat. Res. Council, 490 U.S. 360,

374 (1989). This Court has likewise consistently held that neither new

information (however voluminous) nor a new analysis of that

information warrants a SEIS unless it shows “significant” “new

environmental impacts.” Friends of Cap. Crescent Trail v. Fed. Transit

Admin., 877 F.3d 1051, 1061 (D.C. Cir. 2017); see also, e.g., Stand Up

for California! v. U.S. Dep’t of the Interior, 994 F.3d 616, 628-29 (D.C.

Cir. 2021).

      The panel opinion turns that settled precedent on its head.

Rather than focus on the information’s impact—which is the statutory

focus—the panel treated the mere volume of new information as

requiring a SEIS. FERC had already concluded that the expanded



                                      9
USCA Case #23-1174   Document #2081045        Filed: 10/21/2024   Page 16 of 74



dataset did not move the needle. As before, the only significant impacts

were the inherent visual ones: you could see the facility when nearby.

While FERC observed that other, insignificant impacts

disproportionately affected environmental-justice communities, those

impacts remained insignificant. To treat that broader information—

which did not implicate NEPA environmental-significance standards—

as mandating a SEIS is plainly contrary to Marsh and Circuit

precedent. It also implicates the issue currently before the Supreme

Court in Seven County—namely, whether NEPA’s rule-of-reason

“protect[s]” agency “judgments about what to consider” in an EIS “from

endless second-guessing.” Pet’rs Br. 30, Seven County (link).

      The panel’s ruling also conflicts with the decisions of other

circuits. The Fourth, Fifth, and Ninth Circuits all adhere to Marsh and

(in line with this Court’s prior precedents) hold that the need for a SEIS

depends not on the volume of new information, but on whether the new

information shows that the project will significantly affect the

environment in manners not already considered. See, e.g., N. Idaho

Cmty. Action Network v. DOT, 545 F.3d 1147, 1154-55 (9th Cir. 2008);

No Mid-Currituck Bridge-Concerned Citizens v. N.C. Dep’t of Transp.,



                                    10
USCA Case #23-1174   Document #2081045       Filed: 10/21/2024   Page 17 of 74



60 F.4th 794, 801-03 (4th Cir. 2023); Citizens for Clean Air & Clean

Water in Brazoria Cnty. v. DOT, 98 F.4th 178, 194 (5th Cir. 2024); cf.

Wisconsin v. Weinberger, 745 F.2d 412, 420 (7th Cir. 1984) (pre-Marsh).

      The en banc Court must intervene to harmonize this Court’s

approach to the SEIS inquiry. Indeed, if the full Court does not

reconcile the panel opinion with this Court’s prior (correct) application

of Marsh, a cloud of confusion will reign. And it foreshadows a likely

return trip to this Court in the form of a GVR following Seven County.

        B.    The panel’s harmless-error ruling conflicts with
              Circuit precedent.

      The panel further departed from precedent by holding that

FERC’s actions were not harmless. FERC provided an opportunity to

comment on the broader environmental-justice data, and then another

15 days to address Rio Grande’s response. Op.18, 20. Nevertheless, the

panel held FERC needed to issue a formal SEIS to allow for another 45

days for comment on FERC’s analysis of the data and comments,

specifically as it related to air-quality data. Op.18-19. The panel

refused to find the absence of another round of comments harmless,

even though the public had the opportunity on rehearing to object to




                                    11
USCA Case #23-1174   Document #2081045       Filed: 10/21/2024   Page 18 of 74



FERC’s analysis and FERC allowed comment letters outside the

comment periods.

      That is irreconcilable with Circuit precedent. In Friends of the

River v. FERC, 720 F.2d 93, 106-07 (D.C. Cir. 1983), the first time

FERC issued a public analysis on the contested issue was in its

rehearing order, leaving no opportunity for comment at all. This Court

held even that error harmless, because “while FERC fell short of a

formal requirement, its decisionmaking adequately responded to the

concerns underlying NEPA.” Id. at 110; see, e.g., Stand Up for

California!, 994 F.3d at 629-30. To find harmful error when the public

had a far greater opportunity to comment would be “[s]ending the

matter back ‘to teach the agency a lesson,’” an “essentially punitive

measure” that would inappropriately “treat the EIS as ‘an end in

itself’”—and inappropriately punish proponents of the underlying

project, who had nothing to do with FERC’s (supposed) procedural

misstep. Friends of the River, 720 F.2d at 106-07.

      And it is particularly perverse here, where the panel’s

harmlessness analysis rested chiefly on providing petitioners the

opportunity to comment on the air-quality data and analysis. Op.18-19.



                                   12
USCA Case #23-1174   Document #2081045      Filed: 10/21/2024   Page 19 of 74



Air permitting here is the exclusive province of the Texas Commission

on Environmental Quality (“TCEQ”), as delegated by the EPA. See 42

U.S.C. § 7661a(d); 40 C.F.R. part 70. TCEQ evaluated the project’s air

emissions, reviewed public comments, found the project complied with

all air quality standards, and issued Rio Grande its air permits. JA269.

While one petitioner did file comments with TCEQ, the TCEQ air

permits later issued were never challenged by petitioners in court. To

remand in this context for yet more comment on air quality is a

quintessential example of pointless, punitive process disconnected from

NEPA’s text.2

        C.      Authorization cannot hinge on environmental-
                justice analyses.

      The problems here run deeper still, as FERC’s (supposed) NEPA

violation was premised on flaws in an environmental-justice analysis

that lacks statutory grounding.

      NEPA mandates the study of effects on the “physical

environment,” not everything that affects human welfare. See Metro.




2 For the reasons explained in Texas LNG’s rehearing petition, the

panel also erred in holding that use of Brownsville air monitor data
supported a remand.

                                   13
USCA Case #23-1174   Document #2081045       Filed: 10/21/2024   Page 20 of 74



Edison Co. v. People Against Nuclear Energy, 460 U.S. 766, 774 (1983).

The demand for an “environmental justice” analysis here (requiring an

analysis through a socio-economic, racial, or minority impact lens) is not

a requirement of NEPA, but rather the creature of Executive Orders

12,898 and 14,008 and the CEQ. See JA49-50. But these Executive

Orders do not “create any right, … substantive or procedural,

enforceable at law.” 59 Fed. Reg. 7,629, 7,632-33 (Feb. 11, 1994); 86

Fed. Reg. 7,619 (Jan. 27, 2021). And they do not apply to FERC. 44

U.S.C. § 3502(5); see N. Nat. Gas Co., 184 FERC ¶ 61,186 at ¶ 66 n.113.

What is more, while CEQ is authorized to gather information and make

recommendations for future legislation, it cannot create binding rules

for denying authorizations. Food & Water Watch v. U.S. Dep’t of Agric.,

1 F.4th 1112, 1119 (D.C. Cir. 2021) (Randolph, J., concurring); 42 U.S.C.

§§ 4342, 4344. Thus, CEQ’s “environmental-justice guidance,” Sierra

Club v. FERC, 867 F.3d 1357, 1368 (D.C. Cir. 2017), even to the extent

adopted by FERC, at most can direct information-gathering; it cannot

provide an independent basis for vacating project authorization. See

Amicus Br. NextDecade LNG, Seven Cnty. (link).




                                   14
USCA Case #23-1174   Document #2081045       Filed: 10/21/2024   Page 21 of 74



      Congress has neither required an environmental-justice analysis

nor empowered FERC to consider it in evaluating authorization; there

is thus no lawful ground to vacate reauthorization on that basis.

II.   The Panel’s Test For Vacatur Conflicts With Precedent Of
      This Circuit And Others, Will Cause Unjustified
      Devastation, And Exceeds The Court’s Authority.

      The panel’s remedial decision constitutes an even more disastrous

error, in both doctrinal and practical terms. Even though the (claimed)

errors in FERC’s re-analysis do not remotely call into question the

actual authorization, the panel vacated the reauthorization, putting the

future of the project at grave risk. And in issuing that remedy, the

panel applied a test that conflicts with settled precedent and turns a

blind eye to relevant factors.

        A.    The panel’s approach is contrary to Circuit
              precedent.

      For decades, this Court has considered two factors in deciding

whether to vacate or remand-without-vacatur: (1) “‘the seriousness of

the order’s deficiencies (and thus the extent of doubt whether the

agency chose correctly)’”; and (2) “‘the disruptive consequences of an

interim change that may itself be changed.’” Allied-Signal v. Nuclear

Regulatory Comm’n, 988 F.2d 146, 150-51 (D.C. Cir. 1993). This is a


                                    15
USCA Case #23-1174   Document #2081045          Filed: 10/21/2024   Page 22 of 74



forward-looking test, hinging on whether there is “reason to expect that

the agency” will be able “to correct th[e] deficiencies” identified and

reach the same result. Oglala Sioux Tribe v. Nuclear Regul. Comm’n,

896 F.3d 520, 538 (D.C. Cir. 2018).

      Time and again, this Court has applied Allied-Signal and

remanded without vacatur in circumstances indistinguishable from

those here. Those cases make clear that NEPA procedural errors

should not trigger vacatur when authorization is not in doubt and

vacatur would be disruptive. See, e.g., Healthy Gulf v. FERC, 107 F.4th

1033, 1047 (D.C. Cir. 2024) (“reasonably likely” FERC could “still

authorize the Project” after correcting NEPA violations); Food & Water

Watch v. FERC, 28 F.4th 277, 292 (D.C. Cir. 2022) (FERC “could arrive

at the same finding of no significant impact” and vacatur “mid-

construction” would be “‘quite disruptive’”).

      The panel opinion breaks from those cases. While the panel cited

Allied-Signal, even a cursory glance confirms that it applied a standard

bearing no resemblance to that time-tested rule. Under the panel

opinion, whenever “an agency bypasses a fundamental procedural step,”

the vacatur question “asks ‘not whether the ultimate action could be



                                      16
USCA Case #23-1174    Document #2081045        Filed: 10/21/2024   Page 23 of 74



justified’” (which is what Allied-Signal’s first factor requires), but

“‘whether the agency could, with further explanation, justify its decision

to skip that procedural step.’” Op.33 (emphasis added) (quoting

Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 985 F.3d 1032,

1052 (D.C. Cir. 2021)). Under that backwards-looking standard,

vacatur must result if the agency cannot justify its procedural

misstep—after the court has already deemed the misstep an

unjustifiable procedural error. Op.34. This amounts to a total rewrite

of Allied-Signal, conflates the merits and remedy inquiries, and

effectively establishes an automatic-vacatur rule.

      The consequences are most pronounced for major energy projects.

Although the panel provided no analysis whatsoever regarding what

constitutes a “fundamental” procedural violation necessitating vacatur

under its rule, Op.33-34, nearly every NEPA violation apparently falls

within that description. Standing Rock, the key case relied upon by the

panel, held that even highly technical and formalistic NEPA violations

must be treated as “fundamental procedural failure[s].” 985 F.3d at

1052-53. The panel opinion thus replaces Allied-Signal’s forward-




                                     17
USCA Case #23-1174   Document #2081045       Filed: 10/21/2024   Page 24 of 74



looking, reliance-interest-protecting rule with a near-automatic vacatur

rule for even trivial NEPA errors.

      The panel’s novel test has nothing to recommend it. It serves only

to embolden NEPA petitioners and chill investment in complex energy

infrastructure at a time when American energy independence, and the

need to provide a reliable source of LNG to our allies, is a pressing

foreign-policy and national-security interest. It is no exaggeration to

say that the new rule will make it nearly impossible to construct private

infrastructure projects. If a project will be halted based on any minor

agency misstep, who would invest the billions necessary to get these

projects off the ground?

        B.    The panel’s vacatur test creates a circuit split.

      Other circuits adhere to their versions of the Allied-Signal test

and remand without vacatur even when facing what the panel here

would deem a “fundamental procedural error.” See, e.g., Ctr. for Food

Safety v. Regan, 56 F.4th 648, 663 & n.11 (9th Cir. 2022); Black Warrior

Riverkeeper, Inc. v. Army Corps of Eng’rs, 781 F.3d 1271, 1290 (11th

Cir. 2015); Tx. Ass’n of Mfrs. v. CPSC, 989 F.3d 368, 389 (5th Cir. 2021);

Sierra Club v. EPA, 60 F.4th 1008, 1022-23 (6th Cir. 2023); Central



                                     18
USCA Case #23-1174   Document #2081045        Filed: 10/21/2024   Page 25 of 74



Maine Power Co. v. FERC, 252 F.3d 34, 48 (1st Cir. 2001); NRDC v.

EPA, 808 F.3d 556, 584 (2d Cir. 2015). And when confronted with

Standing Rock—invoked by the panel here—as a new lax “standard for

vacatur,” the Ninth Circuit rejected it, observing that even since

“Standing Rock has been issued, the D.C. Circuit has repeatedly relied

on the Allied-Signal test.” Ctr. for Food Safety, 56 F.4th at 663 n.11.

The panel’s contrary approach thus creates a circuit conflict warranting

en banc review.

        C.    Allied-Signal compels remand without vacatur
              here.

      The harsh medicine of near-automatic vacatur is especially stark

here because, under a straightforward application of the traditional

Allied-Signal factors, no vacatur could have been ordered. The Court

need not take Rio Grande’s word for it: The prior Vecinos panel in this

case already applied Allied-Signal in a similar context and correctly

held that FERC is “reasonably likely” to “‘reach[] the same result’” on

remand, and that “vacating the orders would imperil [Rio Grande’s]

ability to obtain funding necessary to complete the projects” and invite

“needless[] disrupt[ion].” 6 F.4th at 1332.




                                    19
USCA Case #23-1174     Document #2081045       Filed: 10/21/2024   Page 26 of 74



      1. Remand is virtually certain to result in reauthorization. The

minor procedural errors the panel identified cannot legally or logically

undermine FERC’s twice-reached conclusion that the Rio Grande

terminal is in the public interest.

      With respect to the SEIS issue, even the panel acknowledged that

the additional information FERC compiled revealed no new significant

environmental impacts. Op.15. And FERC already considered the

nearby communities affected by the project’s only significant impact—

i.e., the visual impact of seeing the facility. There is no basis to believe

that yet more process will alter FERC’s conclusion that the project is in

the public interest.

      As for the CCS proposal, the panel recognized that withdrawing it

would “moot[] the connected-action issue.” Op.23. It has now been

withdrawn, without objection, as premature and unfeasible at this time.

FERC Dkt. No. CP22-17-000 (Aug. 20, 2024). That claimed error is now

moot3 and cannot support vacatur.




3 As detailed in Rio Bravo’s rehearing petition, that portion of the

opinion should be withdrawn as moot.

                                      20
USCA Case #23-1174   Document #2081045        Filed: 10/21/2024   Page 27 of 74



      Nor can the panel’s “reasonable alternative” ruling support

vacatur. Such consideration will not alter the project’s authorization.

This Court recently affirmed FERC’s finding that CCS is not a

reasonable alternative for an LNG facility. Healthy Gulf, 107 F.4th at

1046-47. There is no basis to presume a contrary result here, especially

given that no party (including petitioners) objected when the CCS

proposal was withdrawn as unfeasible.

      2. The second Allied-Signal prong also strongly cuts against

vacatur. Loss of FERC’s authorization would not just mean minor delay

in completing the project; it would trigger contractual events of default,

putting the entire $18.4 billion project in dire jeopardy.

      As discussed above, and as numerous amici will attest, the panel’s

desire to wrist-slap FERC will have devastating real-world

consequences. It will endanger thousands of high-paying jobs and

terminate beneficial community development initiatives—devastating

the local community. And vacatur’s harmful consequences extend

globally: losing Rio Grande as a source of LNG may force other

countries to purchase that gas from Russia instead. If the consequences




                                    21
USCA Case #23-1174   Document #2081045       Filed: 10/21/2024   Page 28 of 74



here are not sufficiently disruptive to satisfy Allied-Signal’s second

prong, it is hard to imagine what could.

        D.    If the full Court denies review, the panel must at
              minimum clarify that it did not vacate the original
              authorization order.

      The sole agency action properly before the panel was the 2023

reauthorization. 15 U.S.C. § 717r limits this Court’s jurisdiction to the

scope of the petition for review. Here, petitioners sought review of only

the “Order on Remand and Amending Section 7 Certificate” and

attached only that order. Pet. for Review, ECF No. 2007874. The

petition did not include or even reference the original 2019

authorization order. Vecinos, 6 F.4th at 1332; see also Stay Opp., ECF

No. 2040046, 2 n.2 (explaining the petition’s limited scope).

      The only order the panel had the power to vacate was the

reauthorization. While vacatur of the reauthorization would itself be

improper and highly disruptive, especially to the pipeline (see Rio Bravo

rehearing petition), the panel should at minimum amend its opinion to

explicitly state that the unchallenged original authorization remains in

effect during remand.




                                    22
USCA Case #23-1174   Document #2081045     Filed: 10/21/2024   Page 29 of 74



                            CONCLUSION

      The Court should grant rehearing or rehearing en banc.

                                   Respectfully submitted,

                                   /s/ Robert M. Loeb
 Paul D. Clement                   Robert M. Loeb
 Matthew D. Rowen                  ORRICK, HERRINGTON &
 Kevin Wynosky                       SUTCLIFFE LLP
 CLEMENT & MURPHY, PLLC            2100 Pennsylvania Ave., NW
 706 Duke Street                   Washington, DC 20037
 Alexandria, VA 22314              (202) 339-8400

 Geoffrey C. Shaw                  Lisa M. Tonery
 Elizabeth A. Bixby                Andrew D. Silverman
 ORRICK, HERRINGTON &              Emily Villano
   SUTCLIFFE LLP                   ORRICK, HERRINGTON &
 355 S. Grand Avenue, Ste. 2700      SUTCLIFFE LLP
 Los Angeles, CA 90071             51 West 52nd Street
                                   New York, NY 10019

             Counsel for Intervenor Rio Grande LNG, LLC

October 21, 2024




                                   23
USCA Case #23-1174   Document #2081045   Filed: 10/21/2024   Page 30 of 74




                        ADDENDUM
USCA Case #23-1174          Document #2081045              Filed: 10/21/2024       Page 31 of 74



                               TABLE OF CONTENTS


Opinion (D.C. Cir. Aug. 6, 2024) ............................................................... 1
Certificate of Parties and Amici Curiae.................................................. 35
Corporate Disclosure Statement ............................................................. 37
USCA Case #23-1174   Document #2081045   Filed: 10/21/2024   Page 32 of 74




                     EXHIBIT A
USCA
USCACase
     Case#23-1174
         #23-1174    Document
                     Document#2081045
                              #2068430              Filed:
                                                    Filed:10/21/2024
                                                           08/06/2024      Page
                                                                           Page33
                                                                                1 of
                                                                                   of34
                                                                                      74




             United States Court of Appeals
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued May 17, 2024                  Decided August 6, 2024

                                   No. 23-1174

                           CITY OF PORT ISABEL, ET AL.,
                                   PETITIONERS

                                         v.

                    FEDERAL ENERGY REGULATORY COMMISSION,
                                 RESPONDENT

            RIO BRAVO PIPELINE COMPANY, LLC AND RIO GRANDE LNG,
                                     LLC,
                                 INTERVENORS




                            Consolidated with 23-1221


                      On Petitions for Review of Orders of the
                      Federal Energy Regulatory Commission



                Nathan Matthews argued the cause for petitioners. With
            him on the joint briefs were Lisa M. Diaz, Tom Gosselin, and
            Gilberto Hinojosa. Eric E. Huber entered an appearance.




                                         1
USCA
USCACase
     Case#23-1174
         #23-1174     Document
                      Document#2081045
                               #2068430               Filed:
                                                      Filed:10/21/2024
                                                             08/06/2024       Page
                                                                              Page34
                                                                                   2 of
                                                                                      of34
                                                                                         74




                Robert M. Kennedy, Senior Attorney, Federal Energy
            Regulatory Commission, argued the cause for respondent.
            With him on the brief were Matthew R. Christiansen, General
            Counsel, and Robert H. Solomon, Solicitor. Jason Perkins,
            Attorney, entered an appearance.

                Varu Chilakamarri argued the cause for intervenors Rio
            Bravo Pipeline Company, LLC and Rio Grande LNG, LLC in
            support of respondent. With her on the joint briefs were Jeremy
            C. Marwell, Matthew X. Etchemendy, David L. Wochner, and
            John Longstreth. James Dawson, Timothy J. Furdyna, James
            D. Seegers, and Paul M. Teague entered appearances.




                                          2
USCA
USCACase
     Case#23-1174
         #23-1174    Document
                     Document#2081045
                              #2068430              Filed:
                                                    Filed:10/21/2024
                                                           08/06/2024      Page
                                                                           Page35
                                                                                3 of
                                                                                   of34
                                                                                      74




                                   No. 23-1175

                      CITY OF PORT ISABEL AND SIERRA CLUB,
                                  PETITIONERS

                                         v.

                    FEDERAL ENERGY REGULATORY COMMISSION,
                                 RESPONDENT

                         TEXAS LNG BROWNSVILLE, LLC,
                                 INTERVENOR




                            Consolidated with 23-1222


                      On Petitions for Review of Orders of the
                      Federal Energy Regulatory Commission



                Nathan Matthews argued the cause for petitioners. With
            him on the joint briefs were Lisa M. Diaz, Tom Gosselin, and
            Gilberto Hinojosa.

                Robert M. Kennedy, Senior Attorney, Federal Energy
            Regulatory Commission, argued the cause for respondent.
            With him on the brief were Matthew R. Christiansen, General




                                         3
USCA
USCACase
     Case#23-1174
         #23-1174     Document
                      Document#2081045
                               #2068430               Filed:
                                                      Filed:10/21/2024
                                                             08/06/2024       Page
                                                                              Page36
                                                                                   4 of
                                                                                      of34
                                                                                         74




                                          4

            Counsel, Robert H. Solomon, Solicitor, and Jason Perkins,
            Attorney.

                 Michael R. Pincus argued the cause for intervenor Texas
            LNG Brownsville, LLC in support of respondent. With him on
            the brief were Paul Korman and Mosby Perrow.

                Before: SRINIVASAN, Chief Judge, CHILDS and GARCIA,
            Circuit Judges.

                Opinion for the Court filed by Circuit Judge GARCIA.

                 GARCIA, Circuit Judge: In 2021, petitioners challenged
            the Federal Energy Regulatory Commission’s authorization of
            two liquefied natural gas export terminals in Cameron County,
            Texas, and a pipeline that would carry natural gas to one of
            those terminals. In related decisions, we granted the petitions
            for review in part and remanded without vacatur. Vecinos para
            el Bienestar de la Comunidad Costera v. FERC (“Vecinos I”),
            6 F.4th 1321, 1325 (D.C. Cir. 2021); Vecinos para el Bienestar
            de la Comunidad Costera v. FERC (“Vecinos II”), No. 20-
            1045, 2021 WL 3716769 (D.C. Cir. Aug. 3, 2021)
            (unpublished opinion). On remand, the Commission issued
            orders reauthorizing the projects.
                 Petitioners now challenge the reauthorization orders.
            They argue that the Commission failed to comply with certain
            National Environmental Policy Act and Natural Gas Act
            requirements. Once again, we agree in part. The Commission
            erroneously declined to issue supplemental environmental
            impact statements addressing its updated environmental justice
            analysis for each project and its consideration of a carbon
            capture and sequestration system for one of the terminals. It
            also failed to explain why it declined to consider air quality
            data from a nearby air monitor. We deny the petitions in all




                                          4
USCA
USCACase
     Case#23-1174
         #23-1174     Document
                      Document#2081045
                               #2068430                Filed:
                                                       Filed:10/21/2024
                                                              08/06/2024        Page
                                                                                Page37
                                                                                     5 of
                                                                                        of34
                                                                                           74




                                           5

            other respects. Given the nature and severity of the flaws in the
            Commission’s second effort to properly assess the projects, we
            vacate the reauthorization orders and remand to the
            Commission for further consideration.
                                           I
                                           A
                 Under Section 3 of the Natural Gas Act (“NGA”), the
            Commission exercises authority delegated from the
            Department of Energy “to approve or deny an application for
            the siting, construction, expansion, or operation of” facilities
            used to export liquefied natural gas (“LNG”). 15 U.S.C.
            § 717b(e)(1); see EarthReports, Inc. v. FERC, 828 F.3d 949,
            952–53 (D.C. Cir. 2016). The Commission “shall” approve
            such an application unless it finds that the project “will not be
            consistent with the public interest.” 15 U.S.C. § 717b(a); see
            EarthReports, 828 F.3d at 953.
                 Under Section 7 of the NGA, the Commission reviews
            applications for the construction and operation of pipelines that
            transport natural gas in interstate commerce. 15 U.S.C.
            § 717f(c); Allegheny Def. Project v. FERC, 964 F.3d 1, 4 (D.C.
            Cir. 2020). The Commission “shall” authorize such a pipeline
            if it “is or will be required by the present or future public
            convenience and necessity.” 15 U.S.C. § 717f(e); see
            Allegheny Def. Project, 964 F.3d at 4.
                 “Before authorizing the construction and operation of a
            proposed LNG facility or pipeline, the Commission must
            conduct an environmental review under” the National
            Environmental Policy Act (“NEPA”). Vecinos I, 6 F.4th at
            1325. If, as here, the Commission determines that approval of
            the facility constitutes a “major Federal action[] significantly
            affecting the quality of the human environment,” the




                                           5
USCA
USCACase
     Case#23-1174
         #23-1174     Document
                      Document#2081045
                               #2068430               Filed:
                                                      Filed:10/21/2024
                                                             08/06/2024        Page
                                                                               Page38
                                                                                    6 of
                                                                                       of34
                                                                                          74




                                           6

            Commission must prepare an Environmental Impact Statement
            (“EIS”). 42 U.S.C. § 4332(2)(C); see id. § 4336(b)(1). Among
            other things, the EIS must address the “reasonably foreseeable
            environmental effects” of the proposed action as well as “a
            reasonable range of alternatives . . . that are technically and
            economically feasible, and meet the purpose and need of the
            proposal.” Id. § 4332(2)(C)(i), (iii). The EIS “forces the
            [Commission] to take a ‘hard look’ at the environmental
            consequences of its actions” and “ensures that [those]
            consequences, and the [Commission’s] consideration of them,
            are disclosed to the public.” Sierra Club v. FERC (“Sabal
            Trail”), 867 F.3d 1357, 1367 (D.C. Cir. 2017).
                                           B
                 This case concerns two proposed natural gas projects. On
            March 30, 2016, Texas LNG Brownsville LLC (“Texas LNG”)
            filed a Section 3 application for authorization to construct and
            operate an LNG export terminal on the northern shore of the
            Brownsville Shipping Channel in Cameron County, Texas. On
            May 5, 2016, Rio Grande LNG, LLC (“Rio Grande”) filed a
            Section 3 application for authorization to construct and operate
            its own LNG export terminal at a different site on the same
            shore. Rio Bravo Pipeline Company, LLC (“Rio Bravo”)
            simultaneously filed a related Section 7 application for
            authorization to construct and operate a new interstate pipeline
            system to deliver natural gas from existing grid interconnects
            in Nueces County, Texas, to the Rio Grande terminal. The Rio
            Grande terminal and Rio Bravo pipeline together form the Rio
            Grande project. 1


                1
                 Rio Grande and Rio Bravo are both wholly owned subsidiaries
            of NextDecade LNG, LLC, a U.S. energy project development and
            management company.




                                           6
USCA
USCACase
     Case#23-1174
         #23-1174     Document
                      Document#2081045
                               #2068430               Filed:
                                                      Filed:10/21/2024
                                                             08/06/2024        Page
                                                                               Page39
                                                                                    7 of
                                                                                       of34
                                                                                          74




                                           7

                After publishing a final EIS for each project, on November
            22, 2019, the Commission issued orders authorizing the
            projects. See Order Granting Authorizations Under Sections 3
            and 7 of the Natural Gas Act, Rio Grande LNG, LLC & Rio
            Bravo Pipeline Co., 169 FERC ¶ 61,131 (Nov. 22, 2019);
            Order Granting Authorization Under Section 3 of the Natural
            Gas Act, Texas LNG Brownsville LLC, 169 FERC ¶ 61,130
            (Nov. 22, 2019) (collectively, the “2019 Approval Orders” or
            “authorization orders”).
                Petitioners—environmental groups, residents, and the
            nearby city of Port Isabel—intervened in the Commission’s
            proceedings and sought rehearing of the authorization orders.
            They argued that the Commission’s analyses of the projects’
            ozone emissions and impacts on climate change and
            environmental justice communities were deficient under
            NEPA and the Administrative Procedure Act (“APA”). They
            also claimed that the Commission failed to justify its
            determinations of public interest and convenience under the
            NGA. Regarding the Rio Grande project, petitioners further
            argued that the Commission violated NEPA by failing to
            adequately analyze alternative project designs.
                 After the Commission denied their rehearing requests,
            petitioners sought review in our court. On August 3, 2021, we
            addressed petitioners’ challenges to the authorization orders in
            two companion decisions. Vecinos I, 6 F.4th 1321; Vecinos II,
            2021 WL 3716769.
                 In Vecinos I, we held that the Commission failed to
            adequately justify its decision to examine environmental
            justice impacts within only a two-mile radius of the projects,
            when some environmental impacts of the projects would
            extend beyond that area. See 6 F.4th at 1330–31. Thus, we
            instructed the Commission to either better explain its reasoning




                                           7
USCA
USCACase
     Case#23-1174
         #23-1174      Document
                       Document#2081045
                                #2068430                    Filed:
                                                            Filed:10/21/2024
                                                                   08/06/2024          Page
                                                                                       Page40
                                                                                            8 of
                                                                                               of34
                                                                                                  74




                                               8

            or analyze the projects’ impacts within a different radius. Id.
            at 1331. We also directed the Commission to respond to
            petitioners’ argument that 40 C.F.R. § 1502.21(c) (2020) 2
            required it to use the social cost of carbon protocol or some
            other generally accepted methodology to assess whether the
            climate impact of the projects’ greenhouse gas (“GHG”)
            emissions would be significant or not. See id. at 1328–30.
            Given the deficiencies in the Commission’s environmental
            analyses, we further directed the Commission to reconsider its
            NGA public interest determinations for the projects. Id. at
            1331 (citing 15 U.S.C. §§ 717b(a), 717f(e)). Ultimately, we
            remanded without vacatur because we found it likely that the
            Commission could remedy the deficiencies while reaching the
            same result. Id. at 1332.
                In Vecinos II, we “denied in all respects” the other
            challenges petitioners raised to the authorization orders.
            2021 WL 3716769, at *1.
                 In November 2021, in response to our remand, Rio Grande
            filed on a separate docket a proposal to add a carbon capture
            and sequestration (“CCS”) system to its terminal design. The
            system would employ processes to remove carbon dioxide
            emissions during natural gas liquefaction and then transport
            those emissions by pipeline to an EPA- and state-authorized
            underground injection well for sequestration. Rio Grande
            projected that the system would capture at least 90% of the

                 2
                  The Council on Environmental Quality regulations cited here
            and elsewhere in the opinion have since been amended, but those
            amendments did not take effect until after the Commission entered
            the challenged orders. See National Environmental Policy Act
            Implementing Regulations Revisions Phase 2, 89 Fed. Reg. 35,442
            (May 1, 2024) (effective July 1, 2024). Thus, we cite and apply the
            regulations in effect at the time of the orders. See Ctr. for Biological
            Diversity v. FERC, 67 F.4th 1176, 1181 n.2 (D.C. Cir. 2023).




                                               8
USCA
USCACase
     Case#23-1174
         #23-1174     Document
                      Document#2081045
                               #2068430               Filed:
                                                      Filed:10/21/2024
                                                             08/06/2024        Page
                                                                               Page41
                                                                                    9 of
                                                                                       of34
                                                                                          74




                                           9

            carbon dioxide produced at the terminal. The company asked
            the Commission to consider the CCS proposal at the same time
            it considered reauthorization of the existing project.
            Commission staff initially anticipated issuing an
            environmental assessment of the CCS system in May 2023 but
            suspended those plans after Rio Grande failed to provide
            “complete and timely responses” to several data requests by the
            agency. Notice Suspending Environmental Review Schedule
            of the Proposed Carbon Capture and Sequestration System
            Amendment, 88 Fed. Reg. 24,407 (Apr. 20, 2023).
                 On April 21, 2023, the Commission issued orders
            reauthorizing the projects. See Order on Remand and
            Amending Section 7 Certificate (“No. 23-1174 Remand
            Order”), Rio Grande LNG, LLC & Rio Bravo Pipeline Co., 183
            FERC ¶ 61,046 (Apr. 21, 2023); Order on Remand (“No. 23-
            1175 Remand Order”), Texas LNG Brownsville LLC, 183
            FERC ¶ 61,047 (Apr. 21, 2023) (collectively, the “Remand
            Orders”). Petitioners filed timely requests for rehearing, but
            after the Commission failed to respond within thirty days, the
            requests were deemed denied by operation of law.
                On July 10, 2023, petitioners asked this court to review the
            Remand Orders. City of Port Isabel v. FERC, No. 23-1174
            (D.C. Cir.) (Rio Grande project); City of Port Isabel v. FERC,
            No. 23-1175 (D.C. Cir.) (Texas project). We granted Rio
            Grande, Rio Bravo, and Texas LNG leave to intervene. On
            October 27, 2023, while the petitions were pending, the
            Commission issued orders addressing the rehearing requests
            and sustaining the reauthorizations. See Order Addressing
            Arguments Raised on Rehearing (“No. 23-1174 Rehearing
            Order”), Rio Grande LNG, LLC & Rio Bravo Pipeline Co., 185
            FERC ¶ 61,080 (Oct. 27, 2023); Order Addressing Arguments
            Raised on Rehearing (“No. 23-1175 Rehearing Order”), Texas
            LNG Brownsville LLC, 185 FERC ¶ 61,079 (Oct. 27, 2023).




                                           9
USCA Case #23-1174     Document #2081045
                                #2068430               Filed: 10/21/2024
                                                              08/06/2024        Page 42
                                                                                     10 of 74
                                                                                           34




                                           10

                                           II
                  We review petitioners’ claims under the familiar “arbitrary
             and capricious” standard. Nevada v. U.S. Dep’t of Energy, 457
             F.3d 78, 87 (D.C. Cir. 2006); Vecinos I, 6 F.4th at 1331. “Our
             role is not to flyspeck an agency’s environmental analysis,
             looking for any deficiency no matter how minor, but instead
             simply to ensure that the agency has adequately considered and
             disclosed the environmental impact of its actions and that its
             decision is not arbitrary or capricious.” Birckhead v. FERC,
             925 F.3d 510, 515 (D.C. Cir. 2019) (per curiam) (citations and
             quotation marks omitted). We therefore ask whether the
             agency “examine[d] the relevant data and articulate[d] a
             satisfactory explanation for its action[,] including a rational
             connection between the facts found and the choice made.”
             Motor Vehicle Mfrs. Ass’n, Inc. v. State Farm Mut. Auto. Ins.
             Co., 463 U.S. 29, 43 (1983) (citation and quotation marks
             omitted).
                 Petitioners challenge several aspects of the Commission’s
             orders. We consider each in turn.
                                            A
                  We begin with the Commission’s environmental justice
             analysis. “In conducting NEPA reviews of proposed natural
             gas projects, the Commission follows Executive Order
             12[,]898, which directs federal agencies to identify and address
             ‘disproportionately high and adverse human health or
             environmental effects’ of their actions on minority and low-
             income populations (i.e., environmental justice communities).”
             No. 23-1174 Remand Order ¶ 103 (quoting Executive Order
             12,898, 59 Fed. Reg. 7,629 (Feb. 11, 1994)); see Sabal Trail,
             867 F.3d at 1368. The Commission’s methodology considers:
             “(1) whether environmental justice communities . . . exist in
             the project area; (2) whether impacts on environmental justice




                                           10
USCA Case #23-1174     Document #2081045
                                #2068430                Filed: 10/21/2024
                                                               08/06/2024        Page 43
                                                                                      11 of 74
                                                                                            34




                                            11

             communities are disproportionately high and adverse; and (3)
             possible mitigation measures.” No. 23-1174 Remand Order
             ¶ 104.
                  In Vecinos I, we held that the Commission’s
             environmental justice analysis of the projects was arbitrary.
             The Commission did not adequately explain why, despite its
             “determination that environmental effects from the project
             would extend well beyond two miles from the project sites,” it
             nonetheless “chose to analyze the projects’ impacts only on
             communities . . . within two miles of the project sites.” 6 F.4th
             at 1330, 1331. We remanded for the Commission to either
             provide such an explanation “or else analyze the projects’
             impacts on communities within a different radius of each
             project site.” Id. We also required the Commission to “explain
             whether its finding that ‘all project-affiliated populations are
             minority or low-income populations,’ is still justified, and, if
             so, whether its conclusion that the projects ‘would not have
             disproportionate adverse effects on minority and low-income
             residents in the area’ still holds.” Id. (quoting the 2019
             Approval Orders).
                  On remand, the Commission generated a new and
             significantly expanded environmental justice analysis for each
             project. It first issued several information requests to the
             developers, seeking updated demographic information for
             census block groups within fifty kilometers (thirty-one miles)
             of the project and updated models for emissions within that
             same geographic scope. “Commission staff” then “conducted
             a new environmental justice analysis.” No. 23-1174 Remand
             Order ¶ 102; No. 23-1175 Remand Order ¶ 26.                The
             Commission did not prepare its analysis in the form of a
             supplemental environmental impact statement (“supplemental
             EIS”). Doing so would have required the agency to publish a
             draft supplemental EIS, provide a forty-five-day period for




                                           11
USCA Case #23-1174     Document #2081045
                                #2068430                 Filed: 10/21/2024
                                                                08/06/2024        Page 44
                                                                                       12 of 74
                                                                                             34




                                            12

             public comment on that draft, and allow interested parties to
             intervene—procedural steps the Commission skipped here.
             See 40 C.F.R. §§ 1502.9(d)(3), 1506.11(d) (2020); 18 C.F.R.
             § 380.10(a)(1)(i).
                  Petitioners argue that the Commission’s choice not to issue
             a supplemental EIS for its environmental justice analysis was
             arbitrary and capricious and prejudiced their ability to
             comment meaningfully on the Commission’s new
             environmental justice analysis. We agree.
                                             1
                  NEPA regulations require a supplemental EIS when
             “[t]here are significant new circumstances or information
             relevant to environmental concerns and bearing on the
             proposed action or its impacts.” 40 C.F.R. § 1502.9(d)(1)(ii)
             (2020). This requirement applies to new circumstances or
             information that “will ‘affect the quality of the human
             environment’ in a significant manner or to a significant extent
             not already considered,” Marsh v. Or. Nat. Res. Council, 490
             U.S. 360, 374 (1989) (quoting 42 U.S.C. § 4332(2)(C))
             (cleaned up), or that “provides a seriously different picture of
             the environmental landscape,” Stand Up for California! v.
             Dep’t of Interior, 994 F.3d 616, 629 (D.C. Cir. 2021) (quoting
             Friends of Cap. Crescent Trail v. Fed. Transit Admin., 877
             F.3d 1051, 1060 (D.C. Cir. 2017)) (emphasis omitted).
                  Here, the pertinent “new information” includes the
             updated demographic and environmental data submitted by the
             developers, as well as the Commission’s entirely new analysis
             and interpretation of that data, which are substantially different
             from the previously conducted environmental justice analysis
             in the final EIS. See No. 23-1174 Remand Order ¶¶ 102–206;
             No. 23-1175 Remand Order ¶¶ 26–82; see also No. 23-1175
             J.A. 126 (Chairman Phillips’s concurrence describing that the




                                            12
USCA Case #23-1174     Document #2081045
                                #2068430               Filed: 10/21/2024
                                                              08/06/2024        Page 45
                                                                                     13 of 74
                                                                                           34




                                           13

             Commission “conducted a full review of the projects’ impacts
             on environmental justice communities” in response to remand).
             Contrary to the Commission’s view, the scope and nature of
             that new information and analysis “provide[] a seriously
             different picture of the environmental landscape” and require a
             supplemental EIS. Stand Up, 994 F.3d at 629 (emphasis and
             quotation omitted).
                  To begin, the previous environmental justice analysis in
             the final EIS analyzed the projects’ impacts on communities
             within a two-mile radius of the projects, which included four to
             five census blocks. See No. 23-1174 J.A 266; No. 23-1175 J.A.
             237. On remand, the Commission analyzed the projects’
             impacts on communities within a fifty-kilometer (or thirty-one-
             mile) radius, which covered over 373 census block groups of
             environmental justice communities. No. 23-1174 Remand
             Order ¶¶ 204–05 (286 block groups impacted by Rio Grande
             terminal and eighty-seven impacted by Rio Bravo pipeline);
             No. 23-1175 Remand Order ¶ 82 (279 block groups impacted
             by Texas project). The new analysis expanded the discussion
             from a mere five pages to forty-six pages for the Rio Grande
             project, with a similar increase for the Texas project. Compare
             No. 23-1174 J.A. 263–68 (Rio Grande project’s five-page final
             EIS analysis), and No. 23-1175 J.A. 236–39, 273–74 (Texas
             project’s five-page final EIS analysis), with No. 23-1174
             Remand Order ¶¶ 102–206 (Rio Grande’s forty-six-page new
             analysis), and No. 23-1175 Remand Order ¶¶ 26–82 (Texas
             project’s twenty-six-page new analysis). In those pages, the
             new analysis acknowledges, for example, that “potential
             impacts on the identified environmental justice communities
             may relate to wetlands, recreational and subsistence fishing,
             tourism, socioeconomics, road and marine traffic, noise, safety,
             air quality, and visual resources,” No. 23-1174 Remand Order
             ¶ 110; No. 23-1175 Remand Order ¶ 35, and proceeds to
             analyze those categories of impacts and more through the




                                           13
USCA Case #23-1174     Document #2081045
                                #2068430                Filed: 10/21/2024
                                                               08/06/2024        Page 46
                                                                                      14 of 74
                                                                                            34




                                            14

             environmental justice lens. That new analysis also relied on
             updated cumulative air emissions data. See No. 23-1174
             Remand Order ¶ 137; No. 23-1175 Remand Order ¶ 76.
                  The Commission’s new environmental justice analysis
             also arrived at different conclusions. Most fundamentally,
             prior to remand, the Commission found that the projects would
             not have any “disproportionate adverse effects” on
             environmental justice communities. No. 23-1174 J.A. 267–68;
             No. 23-1175 J.A. 239. Yet in its updated analysis, the
             Commission concluded that “the impacts on environmental
             justice populations from the project would be
             disproportionately high and adverse because they would be
             predominately borne by the environmental justice communities
             identified and, specifically, communities in the areas near the
             [projects] may experience significant visual impacts, as well as
             significant cumulative visual impacts.” No. 23-1175 Remand
             Order ¶ 83; No. 23-1174 Remand Order ¶ 207. Moreover, the
             Commission ordered additional mitigation measures, beyond
             what it originally ordered, to address certain potential air
             quality impacts at public recreational areas close to the project
             sites. See No. 23-1174 Remand Order ¶¶ 140–41; No. 23-1175
             Remand Order ¶¶ 68–69.
                  The combination of these factors persuades us that a
             supplemental EIS was required. This case is meaningfully
             different from those in which we have not disturbed agencies’
             decisions not to issue a supplemental EIS, such as where the
             “new” information was only updated information about an
             issue that the agency had already considered adequately and to
             a similar extent, see Friends of Cap. Crescent Trail, 877 F.3d
             at 1060–61; Stand Up, 994 F.3d at 629; Nat’l Comm. for the
             New River v. FERC, 373 F.3d 1323, 1330 (D.C. Cir. 2004);
             Vecinos II, 2021 WL 3716769, at *2, and cases in which the
             agency was presented with new information from an outside




                                           14
USCA Case #23-1174      Document #2081045
                                 #2068430                 Filed: 10/21/2024
                                                                 08/06/2024         Page 47
                                                                                         15 of 74
                                                                                               34




                                             15

             party and did not trust the validity of that information at all, see
             Friends of the River v. FERC, 720 F.2d 93, 109 (D.C. Cir.
             1983); Marsh, 490 U.S. at 374. Here, the Commission not only
             trusted the validity of the new demographic and emissions data
             but used that data to “conduct[] a new environmental justice
             analysis” for a significantly expanded geographic scope and
             arrived at new conclusions. No. 23-1174 Remand Order ¶ 102;
             No. 23-1175 Remand Order ¶ 26.
                  For its part, the Commission stated that it “was not
             required to prepare a supplemental EIS because the issues
             addressed on remand did not result in any new significance
             determinations,” insofar as Commission staff “concluded that
             there would be no significant impact on air quality from the
             project.” No. 23-1175 Rehearing Order ¶ 31; No. 23-1174
             Rehearing Order ¶ 42 (similar).
                  That explanation is inadequate for two related reasons.
             First, neither the regulations nor case law condition the
             requirement to issue a supplemental EIS on a new
             determination that a particular environmental impact is
             significant.    As stated above, our cases describe the
             requirement as triggered by a “seriously different picture of the
             environmental landscape,” Stand Up, 994 F.3d at 629
             (emphasis and quotation omitted), not solely whether the
             agency makes a new significance finding. Indeed, NEPA
             requires an EIS if any significant impacts “might result” from
             the proposed action, not only when it definitively concludes
             that a significant impact will result. Grand Canyon Trust v.
             FAA, 290 F.3d 339, 340 (D.C. Cir. 2002) (quoting Sierra Club
             v. Peterson, 717 F.2d 1409, 1415 (D.C. Cir. 1983)) (emphasis
             added). The same logic applies to the issuance of a
             supplemental EIS, and that logic contradicts the Commission’s
             bright-line approach.




                                             15
USCA Case #23-1174      Document #2081045
                                 #2068430                 Filed: 10/21/2024
                                                                 08/06/2024         Page 48
                                                                                         16 of 74
                                                                                               34




                                             16

                 Second, the unavoidable implication of the Commission’s
             argument is that environmental justice analyses—even new
             and dramatically expanded ones—are not important enough to
             require a supplemental EIS unless they also disclose significant
             impacts to the physical environment. See No. 23-1174
             Rehearing Order ¶¶ 42–43; No. 23-1175 Rehearing Order
             ¶¶ 31–32. But environmental justice analyses and impacts can
             be sufficiently meaningful to require a supplement on their
             own.
                  The requirement for a supplemental EIS itself states that
             there must be “significant new circumstances or information
             relevant to environmental concerns and bearing on the
             proposed action or its impacts.” 40 C.F.R. § 1502.9(d)(1)(ii)
             (2020). Effects on environmental justice communities are
             certainly “impacts” that are “relevant to environmental
             concerns”: NEPA regulations define relevant “impacts” to
             mean “changes to the human environment from the proposed
             action” including “ecological (such as the effects on natural
             resources and on the components, structures, and functioning
             of affected ecosystems), aesthetic, historic, cultural, economic,
             social, or health” effects. 40 C.F.R. § 1508.1(g) (2022); see id.
             § 1508.1(m). 3
                In fact, CEQ and EPA guidance—on which the
             Commission relies—reinforces the notion that effects on

                 3
                   Indeed, the new regulations effective July 1, 2024, explicitly
             add “disproportionate and adverse effects on communities with
             environmental justice concerns” to this list of relevant effects, 40
             C.F.R. § 1508.1(i)(4), and the CEQ explained that the change was
             designed to “provide[] further specificity” and “not [to] expand the
             scope of the definition of ‘effects,’” National Environmental Policy
             Act Implementing Regulations Revisions Phase 2, 89 Fed. Reg. at
             35,539.




                                             16
USCA Case #23-1174      Document #2081045
                                 #2068430                  Filed: 10/21/2024
                                                                  08/06/2024          Page 49
                                                                                           17 of 74
                                                                                                 34




                                              17

             environmental justice communities can be independently
             significant. See, e.g., CEQ, Environmental Justice: Guidance
             Under the National Environmental Policy Act, at 10 (Dec. 10,
             1997), https://perma.cc/773N-3WXX (“Agency consideration
             of impacts on low-income populations, minority populations,
             or Indian tribes may lead to the identification of
             disproportionately high and adverse human health or
             environmental effects that are significant and that otherwise
             would be overlooked.” (emphasis added)); EPA, Promising
             Practices for EJ Methodologies in NEPA Reviews, at 33
             (2016), https://perma.cc/ZQ8H-YA4H (“The impacts of a
             proposed action on minority populations and low-income
             populations should inform the determination of whether
             impacts are significant.”).
                  Therefore, at least where, as here, the Commission issued
             an entirely new and significantly expanded environmental
             justice analysis that reached new conclusions, we hold that the
             Commission needed to issue a supplemental EIS. Its failure to
             do so was arbitrary and capricious. 4


                  4
                    Petitioners separately argue that a supplemental EIS is always
             required to remedy a deficient EIS, regardless of whether the new
             information meets the standard articulated in 40 C.F.R.
             § 1502.9(d)(1)(ii)—that is, regardless of whether there are
             “significant new circumstances or information relevant to
             environmental concerns.” See No. 23-1174 Petitioners’ Brief 25.
             The only case petitioners cite for that argument is Idaho Sporting
             Congress Inc. v. Alexander, 222 F.3d 562 (9th Cir. 2000), but even
             there, the Ninth Circuit found that the new information requiring a
             supplemental EIS was “significant,” id. at 567, and explained that the
             rule is that “once an agency determines that new information is
             significant, it must prepare a supplemental EA or EIS,” id. at 566.
             Accordingly, we reject petitioners’ argument and instead assess,




                                              17
USCA Case #23-1174      Document #2081045
                                 #2068430                Filed: 10/21/2024
                                                                08/06/2024         Page 50
                                                                                        18 of 74
                                                                                              34




                                             18

                                             2
                  The Commission attempts to save itself from remand by
             arguing that even if it were required to issue a supplemental
             EIS, its failure to do so was harmless. Our court has recognized
             the APA’s “‘rule of prejudicial error’ . . . in the NEPA context
             when the agency has undertaken the required analysis but
             ‘failed to comply precisely with NEPA procedures,’” Oglala
             Sioux Tribe v. U.S. Nuclear Regul. Comm’n, 45 F.4th 291, 300
             (D.C. Cir. 2022) (quoting Nevada, 457 F.3d at 90), and we will
             not remand if it would be “utterly pointless,” NRDC v. U.S.
             Nuclear Regul. Comm’n, 879 F.3d 1202, 1212 (D.C. Cir.
             2018). We decline to apply that rule here because the
             Commission’s error prejudiced petitioners’ and the public’s
             ability to comment on the Commission’s environmental justice
             analysis.
                  The Commission did solicit public comment as to some of
             the data underlying its environmental justice analysis, but it did
             not permit comment on all the relevant data. Even though the
             Commission opened a fifteen-day window to receive public
             comments on the developers’ responses (including Rio
             Grande’s cumulative air emissions data), it did not solicit any
             public comment on the final cumulative air emissions model
             upon which the Commission eventually relied in its analysis.
             See No. 23-1174 Remand Order ¶¶ 82–85 (summarizing
             comment process); id. ¶ 137 (explaining reliance on new
             model); No. 23-1175 Remand Order ¶¶ 10–12, 76 (similar).
             That final model, which contained substantially different
             results from the prior model, was submitted to the Commission
             on January 6, 2023, after the public comment period closed on

             consistent with the regulation and our precedent, whether there are
             “significant new circumstances or information relevant to
             environmental concerns” requiring issuance of a supplemental EIS.




                                            18
USCA Case #23-1174     Document #2081045
                                #2068430                 Filed: 10/21/2024
                                                                08/06/2024        Page 51
                                                                                       19 of 74
                                                                                             34




                                            19

             November 4, 2022. Compare No. 23-1175 J.A. 457 (April 29,
             2022 analysis showing five NAAQS exceedances for the Texas
             project), with No. 23-1175 J.A. 504–05 (January 6, 2023
             analysis predicting zero NAAQS exceedances for the Texas
             project). Indeed, petitioners point out discrepancies in the final
             model that they would have investigated further and submitted
             comments on had they been given the chance. See No. 23-1174
             Petitioners’ Brief 35; No. 23-1175 Petitioners’ Brief 29–30.
             The fact that petitioners challenge the validity and
             interpretation of the underlying data differentiates this case
             from Oglala Sioux, where we did not remand because the
             parties did “not dispute the reasonableness or accuracy” of the
             agency’s findings. 45 F.4th at 301.
                  More importantly, the Commission did not permit any
             public comment on its analysis. Because the comment period
             was limited to the developers’ responses, the public was not
             able to comment on the Commission’s analysis of those
             responses. See No. 23-1175 J.A. 498–505 (Texas LNG’s
             developer response with data but no explanation). But NEPA’s
             purpose is to allow the public to see and comment on the
             agency’s interpretation of data, not just the underlying data
             itself. See Friends of the River, 720 F.2d at 106–07 (explaining
             that a supplemental EIS should “present evidence and
             discussion relevant to [the agency’s] environmental
             decisionmaking in one comprehensive document”).
                  In sum, the Commission’s error is prejudicial because it
             deprived petitioners and the public of an adequate “springboard
             for public comment.” Robertson v. Methow Valley Citizens
             Council, 490 U.S. 332, 349 (1989). The Commission provided
             only a fifteen-day comment period on the developer responses,
             while the typical NEPA process would have afforded a forty-
             five-day comment period on a draft supplemental EIS—which
             would have included not just the developer responses but the




                                            19
USCA Case #23-1174     Document #2081045
                                #2068430               Filed: 10/21/2024
                                                              08/06/2024        Page 52
                                                                                     20 of 74
                                                                                           34




                                           20

             later-submitted air modeling data and the Commission’s
             proposed analysis—and required FERC to “address
             comments” in the final version. See 40 C.F.R. §§ 1502.9(b)–
             (d), 1506.11(d) (2020). The Commission responds by arguing
             that parties could still file letters on the Commission’s docket
             after the comment period ended or on rehearing. But filing
             letters on the docket (with no guarantee that the Commission
             will consider them) is no substitute for commenting on a draft
             supplemental EIS because NEPA requires the public to be able
             to comment “at a meaningful time.” Marsh, 490 U.S. at 371.
             We therefore hold that the Commission’s failure to issue a
             supplemental EIS for its environmental justice analysis was
             arbitrary and capricious and prejudicial.
                                            B
                  Next, petitioners argue that, before reauthorizing the Rio
             Grande terminal on remand, the Commission needed to
             consider the company’s CCS proposal as part of its
             environmental review of the terminal. Petitioners advance two
             grounds for this argument: (1) the CCS system is a “connected
             action” under 40 C.F.R. § 1501.9(e)(1)(ii) (2020); and (2)
             inclusion of the CCS system qualifies as an alternative to the
             terminal as initially proposed. Both are correct.
                                            1
                  NEPA regulations state that, in addition to assessing the
             project under review, an EIS “shall consider . . . connected
             actions.” 40 C.F.R. § 1501.9(e)(1) (2020). As relevant here,
             petitioners claim that the CCS proposal is an action
             “connected” to the Rio Grande terminal because it “will not
             proceed unless” the terminal is constructed “previously or
             simultaneously.” Id. § 1501.9(e)(1)(ii).




                                           20
USCA Case #23-1174      Document #2081045
                                 #2068430                  Filed: 10/21/2024
                                                                  08/06/2024         Page 53
                                                                                          21 of 74
                                                                                                34




                                              21

                 To assess whether actions are connected, and thus must be
             considered together, we consider whether they have
             “substantial independent utility” and whether they overlap
             temporally. City of Bos. Delegation v. FERC, 897 F.3d 241,
             252 (D.C. Cir. 2018) (quotation omitted). Here, both factors
             support finding the actions connected.
                   At the outset, the parties disagree on the test for substantial
             independent utility. The Commission and Rio Grande insist
             that two projects are not connected whenever one of the
             projects has utility independent of the other. In their view,
             because the terminal is useful separate and apart from the CCS
             system, the projects are not connected actions. Petitioners, by
             contrast, contend that projects have substantial independent
             utility in the relevant sense only if both projects are
             independently useful. For three reasons, petitioners have the
             better argument.
                  First, the relevant regulation states that “[a]ctions are
             connected if they . . . [c]annot or will not proceed unless other
             actions are taken previously or simultaneously.” 40 C.F.R.
             § 1501.9(e)(1)(ii) (2020). Read plainly, the regulation suggests
             that if any one action cannot or will not proceed without the
             other(s), those actions are connected.
                  Second, the Commission’s view would undermine the
             undisputed purpose of the regulation: to stop an agency from
             impermissibly segmenting “connected . . . federal actions into
             separate projects and thereby fail[ing] to address the true scope
             and impact of the activities that should be under consideration.”
             Del. Riverkeeper Network v. FERC, 753 F.3d 1304, 1313 (D.C.
             Cir. 2014). That concern would obviously be implicated if
             projects could escape consolidated review whenever one of
             them could proceed without the other. For example, imagine
             that an applicant proposed an initial project to build an LNG




                                             21
USCA Case #23-1174     Document #2081045
                                #2068430               Filed: 10/21/2024
                                                              08/06/2024        Page 54
                                                                                     22 of 74
                                                                                           34




                                           22

             terminal with four liquefaction trains. Suppose the applicant
             then proposes to add—as a distinct project—a fifth liquefaction
             train to the terminal (and perhaps a sixth, seventh, and so on).
             Assume the initial project could stand on its own, but the other
             liquefaction-train projects could proceed only if the initial
             project were completed. Under the Commission’s reading of
             the regulation, those formally distinct projects—though clearly
             parts of the same functional development—would be deemed
             unconnected for NEPA purposes, allowing the Commission to
             segment the projects’ environmental reviews and avoid
             addressing their collective environmental impact. That result
             would defy the commonsense policy behind the connected-
             action regulation.
                  Third, our previous decisions have already gestured
             toward the more stringent test. Although we have not directly
             addressed the Commission’s argument, in cases where we have
             found substantial independent utility satisfied, we have noted
             that each project could proceed without the other(s). See Food
             & Water Watch v. FERC, 28 F.4th 277, 291 (D.C. Cir. 2022)
             (“The Commission found that each project would have gone
             forward absent the other.”); City of Bos. Delegation, 897 F.3d
             at 252 (“[T]he projects do not depend on the other[s] for access
             to the natural gas market.” (second alteration in original));
             Myersville Citizens for a Rural Cmty., Inc. v. FERC, 783 F.3d
             1301, 1326 (D.C. Cir. 2015) (“[T]he Commission in this case
             made clear that the Allegheny Storage Project and the Cove
             Point LNG terminal are unrelated, and that neither depends on
             the other for its justification.”).
                  Accordingly, we hold that projects have substantial
             independent utility for purposes of the connected-action
             inquiry only when both projects are independently useful.
             Applied here, that factor favors connectedness because, as
             neither the Commission nor Rio Grande disputes, the proposed




                                           22
USCA Case #23-1174     Document #2081045
                                #2068430                Filed: 10/21/2024
                                                               08/06/2024        Page 55
                                                                                      23 of 74
                                                                                            34




                                            23

             CCS system is entirely dependent on the Rio Grande terminal
             for its utility.
                  The temporal-overlap factor also supports finding that the
             CCS system is a connected action. This factor generally asks
             whether the projects are “either under construction” or
             “pending before the Commission for environmental review and
             approval” at the same time. Del. Riverkeeper, 753 F.3d at
             1308. Here, the Commission emphasizes that it completed its
             initial environmental analysis of the Rio Grande terminal and
             approved that project in November 2019, two years before the
             company filed its CCS proposal. But that is not the whole
             story. Rio Grande submitted its CCS proposal specifically in
             response to our 2021 remand—which required the Commission
             to revisit aspects of its environmental analysis and its ultimate
             approval of the project—such that both approval requests were
             pending before the Commission at the same time. Indeed, Rio
             Grande implored the Commission to consider the CCS
             proposal as part of the reauthorization process precisely
             because it viewed the two actions as related and thought that
             the CCS proposal’s ability to capture most of the terminal’s
             GHG emissions would make reauthorization more likely. See
             No. 23-1174 J.A. 715.
                  The Commission’s view that the Rio Grande terminal and
             the proposed CCS system are not connected actions is both
             arbitrary and contrary to law. On remand, the Commission
             must consider the actions together in its environmental analysis
             before deciding whether to reauthorize the terminal.
                                            2
                 Even if Rio Grande decides on remand that it does not wish
             to proceed with the CCS proposal (thereby mooting the
             connected-action issue), the Commission must, at the very




                                           23
USCA Case #23-1174     Document #2081045
                                #2068430                Filed: 10/21/2024
                                                               08/06/2024        Page 56
                                                                                      24 of 74
                                                                                            34




                                            24

             least, analyze the proposal as an alternative via a supplemental
             EIS before reauthorizing the Rio Grande terminal.
                  NEPA regulations require an agency to “[e]valuate
             reasonable alternatives to the proposed action.” 40 C.F.R.
             § 1502.14(a) (2020). As we have already discussed, those
             regulations also require an agency to prepare a supplemental
             EIS “if a major Federal action remains to occur” and “there are
             significant new circumstances or information relevant to
             environmental concerns and bearing on the proposed action or
             its impacts.” Id. § 1502.9(d)(1)(ii) (2020). Here, petitioners
             correctly argue that Rio Grande’s determination that CCS is a
             reasonable and feasible alternative to the terminal as proposed
             constitutes significant new information under the regulations.
                  The feasibility of CCS as an alternative “provides a
             seriously different picture of the environmental landscape,”
             Stand Up, 994 F.3d at 629 (emphasis and quotation omitted),
             and “will affect the quality of the human environment . . . to a
             significant extent not already considered,” Marsh, 490 U.S. at
             374 (alteration and quotation omitted). In its application to the
             Commission, Rio Grande represented that its proposed CCS
             system would “capture and sequester at least 90%” of the
             carbon dioxide produced by the terminal. No. 23-1174 J.A.
             714. It also estimated that the system would reduce
             conventional air pollution (e.g., sulfur dioxide emissions) by
             94.8% and fine particulate matter emissions by 49.2%. See
             No. 23-1174 J.A. 683. Indeed, the Commission agreed at oral
             argument that had the CCS system been proposed at the same
             time as the terminal, the Commission would have been
             required, as part of its EIS, to consider inclusion of the system
             as a reasonable alternative. See Oral Argument Tr. 36:22–37:6.




                                           24
USCA Case #23-1174     Document #2081045
                                #2068430               Filed: 10/21/2024
                                                              08/06/2024       Page 57
                                                                                    25 of 74
                                                                                          34




                                           25

                  The Commission offers two procedural arguments to
             justify its decision to not analyze the CCS proposal as part of
             the terminal reauthorization. Both are meritless.
                  The Commission asserts that res judicata precludes
             petitioners’ claim because we already rejected in Vecinos II
             petitioners’ challenges to the adequacy of the Commission’s
             original analysis of alternatives. See 2021 WL 3716769, at *3.
             But that doctrine “does not preclude claims based on facts not
             yet in existence at the time of the original action.” Drake v.
             FAA, 291 F.3d 59, 66 (D.C. Cir. 2002). Here, the feasibility of
             CCS for the terminal first came to light after our remand, when
             Rio Grande submitted its proposal to the Commission. See No.
             23-1174 Respondent’s Brief 17. Only at that point did
             petitioners have the concrete basis to argue that CCS should
             have been considered as a viable alternative that would satisfy
             the terminal’s purpose while limiting its adverse environmental
             impacts.
                  The Commission also contends that consideration of CCS
             as an alternative is outside the scope of our remand in
             Vecinos I. True, the scope of our remand would normally
             dictate which issues the Commission was required to address.
             See Canadian Ass’n of Petrol. Producers v. FERC, 254 F.3d
             289, 298 (D.C. Cir. 2001). But in the unusual circumstances
             of this case, we cannot credit the Commission’s reliance on the
             scope of our remand in Vecinos I. The CCS proposal was not
             before us or the Commission when we decided that case.
             Instead, as noted above, Rio Grande placed the proposal before
             the Commission specifically in response to our remand, which
             required the Commission to reassess its ultimate decision to
             approve the project. On those unique facts, the Commission
             should have considered the CCS alternative as part of the
             terminal reauthorization process. See also Marsh, 490 U.S. at
             371–72 (indicating the obligation to consider new information




                                          25
USCA Case #23-1174     Document #2081045
                                #2068430                Filed: 10/21/2024
                                                               08/06/2024        Page 58
                                                                                      26 of 74
                                                                                            34




                                            26

             exists so long as the agency retains “a meaningful opportunity”
             to weigh project benefits against environmental harms).
                                            C
                  Next, we turn to petitioners’ arguments that various
             aspects of the Commission’s new environmental justice and air
             pollution analyses are arbitrary and capricious. Because we
             remand for the Commission to issue a supplemental EIS for its
             environmental justice analysis, we need not address several of
             those arguments. In particular, petitioners argue that the
             Commission’s choice of a fifty-kilometer radius was arbitrary;
             that it erred by using the NAAQS to analyze whether air quality
             impacts were “disproportionate and adverse”; and that it failed
             to make a concrete conclusion about whether air quality
             impacts were disproportionate and adverse. Given our remand,
             we decline to address these challenges to the extant analysis.
                 There are, however, two challenges to the Commission’s
             updated air pollution analysis that are fit for resolution now.
                                            1
                  Petitioners argue that the Commission erred by relying on
             Rio Grande’s air pollution analysis, which used air quality data
             only from the Brownsville monitor, and instead should have
             also considered data from the Isla Blanca monitor, which is
             located closer to the projects than the Brownsville monitor.
             This error matters, petitioners say, because the Isla Blanca data
             showed potential NAAQS exceedances for fine particulate
             matter (PM2.5), while the Brownsville monitor did not. We
             agree that the Commission’s explanation for rejecting the Isla
             Blanca data is arbitrary and capricious.
                 The Commission provided two reasons for declining to
             examine data from the Isla Blanca monitor. First, the
             Commission said that “the Isla Blanca monitor was




                                           26
USCA Case #23-1174     Document #2081045
                                #2068430                 Filed: 10/21/2024
                                                                08/06/2024        Page 59
                                                                                       27 of 74
                                                                                             34




                                            27

             appropriately excluded from the air quality analysis because it
             appears that the monitor did not have three years of data . . . as
             contemplated by EPA and the Texas Commission on
             Environmental Quality” at the “time the analysis was
             completed.” No. 23-1175 Rehearing Order ¶ 17 & n.40; see
             No. 23-1174 Rehearing Order ¶ 27. But at the time Rio Grande
             completed its analysis using the Brownsville data in January
             2023, the Isla Blanca monitor did have more than three years
             of data. As the Commission itself noted, the Isla Blanca
             monitor began collecting “valid design values” on October 7,
             2019, which means it had collected about three years and three
             months of data by January 2023. No. 23-1174 Rehearing Order
             ¶ 27; No. 23-1175 Rehearing Order ¶ 17.
                  On appeal, Rio Grande attempted to bolster the
             Commission’s conclusion by explaining that in January 2023
             the Isla Blanca monitor did not have three years of validated
             and published data. See No. 23-1174 Respondent-Intervenor
             Rio Grande Brief 20. But because that explanation is not what
             the Commission said in its orders, nor is it an explanation that
             can be “reasonably . . . discerned” from what the Commission
             did say, we give it no weight. Bowman Transp. Inc. v. Ark.-
             Best Freight Sys., Inc., 419 U.S. 281, 286 (1974); see SEC v.
             Chenery Corp., 318 U.S. 80, 94 (1943).
                  Second, the Commission said the Brownsville monitor
             was “closer in proximity to environmental justice communities
             than the Isla Blanca monitor.” No. 23-1174 Rehearing Order
             ¶ 27; see No. 23-1175 Rehearing Order ¶ 17. Even if the
             Brownsville monitor is closer to more environmental justice
             communities, there are also such communities near the Isla
             Blanca monitor. The Commission provided no explanation in
             its Remand Orders or even at oral argument why it could not
             have considered data from both monitors to assess the air
             pollution impacts on environmental justice communities,




                                            27
USCA Case #23-1174     Document #2081045
                                #2068430               Filed: 10/21/2024
                                                              08/06/2024        Page 60
                                                                                     28 of 74
                                                                                           34




                                           28

             especially considering that the Isla Blanca monitor displayed
             potential NAAQS exceedances. See Oral Argument Tr. 24:25–
             25:3 (Commission stating it could have considered both
             monitors’ data).
                  The Commission’s explanations for rejecting use of the
             Isla Blanca monitor are arbitrary and capricious. On remand,
             the Commission must either include that data in its analysis or
             provide a new, reasoned explanation for declining to do so.
                                            2
                 Second, petitioners challenge the Commission’s updated
             ozone analysis as arbitrary and capricious for failing to
             expressly consider the effect on ozone of emissions from the
             mobile ships that will export natural gas in connection with the
             projects. In Vecinos II, we upheld the Commission’s ozone
             analysis even though the EIS’s model did not account for
             mobile ship emissions because the Commission considered
             such emissions in its 2020 Rehearing Order. See 2021 WL
             3716769, at *4.
                 The Commission was not required on remand to conduct a
             new ozone analysis, but because the Commission chose to do
             so, we now review its new analysis. See Canadian Ass’n of
             Petrol. Producers, 254 F.3d at 298.
                   The Commission’s updated ozone analysis was not
             arbitrary and capricious. The cumulative emissions model the
             Commission relied on appears to account for “background
             concentrations from mobile ship emissions.” No. 23-1175
             Remand Order ¶ 76; No. 23-1174 Remand Order ¶ 137. But
             even if the Commission’s cumulative model did not include
             mobile ship emissions, such an error would not be prejudicial.
             The mobile ship emissions are otherwise in the record and
             showed a substantial drop in ozone precursor (NOx) emissions




                                           28
USCA Case #23-1174     Document #2081045
                                #2068430                Filed: 10/21/2024
                                                               08/06/2024        Page 61
                                                                                      29 of 74
                                                                                            34




                                            29

             compared to the emissions analyzed in the 2020 rehearing
             order. Compare No. 23-1174 J.A. 785 (Rio Grande’s updated
             NOx total ship emissions is 84.9 tons per year), with No. 23-
             1174 J.A. 549 & n.175 (Rio Grande’s NOx total ship emissions
             in 2020 rehearing order was 928.7 ton per year). Overall
             cumulative ozone emissions also decreased, as expected, due
             to the design change from six to five liquefaction trains and
             cancellation of the Annova terminal. 5 See Vecinos II, 2021 WL
             3716769, at *4 n.4 (acknowledging these changes “would
             cause less ozone to be produced than the original design would
             have”). Because petitioners do not cast doubt on that data and
             provide no reason why either mobile ship emissions or
             cumulative ozone emissions would increase beyond the levels
             previously authorized by the Commission, we hold that the
             Commission’s updated ozone analysis was not prejudicially
             deficient even if it did not account for mobile ship emissions.
             See PDK Labs., Inc. v. DEA, 362 F.3d 786, 799 (D.C. Cir.
             2004) (“If the agency’s mistake did not affect the outcome, if
             it did not prejudice the petitioner, it would be senseless to
             vacate and remand for reconsideration.”).
                                            D
                  Next, petitioners contend that the Commission failed to
             satisfy our remand directive regarding its analysis of GHG
             emissions.
                In Vecinos I, we instructed the Commission to “explain
             whether 40 C.F.R. § 1502.21(c) [(2020)] calls for it to apply

                 5
                   The project originally included a third LNG terminal to be
             developed by Annova, LLC, which was also authorized by the
             Commission and appealed to this Court in Vecinos I. Prior to oral
             argument in that case, “Annova, LLC informed the Commission that
             it was abandoning its project,” and we dismissed that petition as
             moot. 6 F.4th at 1327.




                                           29
USCA Case #23-1174     Document #2081045
                                #2068430                Filed: 10/21/2024
                                                               08/06/2024        Page 62
                                                                                      30 of 74
                                                                                            34




                                            30

             the social cost of carbon protocol or some other analytical
             framework” to evaluate the impact of each project’s
             contribution to climate change and “if not, why not.” 6 F.4th
             at 1329–30. Section 1502.21(c)(4) states that “[i]f the
             information relevant to reasonably foreseeable significant
             adverse impacts cannot be obtained because the overall costs
             of obtaining it are unreasonable or the means to obtain it are
             not known, the agency shall include within the environmental
             impact statement . . . [its] evaluation of such impacts based
             upon theoretical approaches or research methods generally
             accepted in the scientific community.”            40 C.F.R.
             § 1502.21(c)(4) (2020).
                  Given the scope of our remand on this issue, we need not
             (and do not) opine on the overall adequacy of the
             Commission’s explanation for why it declined to use the social
             cost of carbon protocol to assess the significance of the
             projects’ GHG emissions. For purposes of this appeal, it
             suffices that the Commission adequately explained why
             Section 1502.21(c)(4) does not compel use of the protocol for
             that task.
                  The social cost of carbon is a method of quantifying in
             dollars the climate change impacts of greenhouse gas
             emissions. See Del. Riverkeeper Network v. FERC, 45 F.4th
             104, 111 (D.C. Cir. 2022). Consistent with its position in prior
             proceedings, the Commission explained in the Remand Orders
             that “there are no criteria to identify what monetized values are
             significant for NEPA purposes, and [the Commission is]
             currently unable to identify any such appropriate criteria.”
             No. 23-1174 Remand Order ¶ 93; No. 23-1175 Remand Order
             ¶ 20 (same); see also Ctr. for Biological Diversity, 67 F.4th at
             1184; EarthReports, 828 F.3d at 956. As a result, the
             Commission explained, the social cost of carbon “does not
             enable the Commission to determine credibly whether the




                                           30
USCA Case #23-1174      Document #2081045
                                 #2068430                Filed: 10/21/2024
                                                                08/06/2024         Page 63
                                                                                        31 of 74
                                                                                              34




                                             31

             reasonably foreseeable GHG emissions associated with a
             project are significant or not significant in terms of their impact
             on global climate change.” No. 23-1174 Remand Order ¶ 93;
             No. 23-1175 Remand Order ¶ 20 (same). Thus, any attempt to
             determine GHG emissions’ significance using the social cost
             of carbon protocol would not turn on the application of
             “theoretical approaches or research methods generally
             accepted in the scientific community.”                 40 C.F.R.
             § 1502.21(c)(4) (2020); see No. 23-1174 Remand Order ¶ 92;
             No. 23-1175 Remand Order ¶ 20.
                 Petitioners argue that, because the Commission
             consistently exercises its policy judgment to determine the
             severity and significance of project impacts on other aspects of
             the environment (such as wetlands, recreation, wildlife, and
             habitats), it can do the same for GHG emissions. But given the
             narrow issue before us, that argument is beside the point. The
             question on remand regarding the social cost of carbon protocol
             was whether Section 1502.21(c)(4) requires the Commission to
             make a significance determination using the protocol, not
             whether, as a general matter, the protocol may be used to make
             such a determination. As explained above, the Commission
             adequately explained why the answer is no.
                  Petitioners’ other counterarguments fare no better. They
             identify examples of other agencies incorporating the social
             cost of carbon protocol into their NEPA analyses. See No. 23-
             1174 Petitioners’ Brief 54 n.10 (citing environmental impact
             statements issued by the Maritime Administration, the Bureau
             of Land Management, and the Bureau of Ocean Energy
             Management); No. 23-1175 Petitioners’ Brief 48 n.8 (same).
             But in none of those examples did the agency use the protocol
             to determine GHG emissions’ significance. At most, those
             agencies disclosed the social cost of the relevant emissions for
             informational purposes, which is exactly what the Commission




                                            31
USCA Case #23-1174     Document #2081045
                                #2068430                 Filed: 10/21/2024
                                                                08/06/2024        Page 64
                                                                                       32 of 74
                                                                                             34




                                            32

             did for each of the projects here. See No. 23-1174 Remand
             Order ¶¶ 98–99; No. 23-1175 Remand Order ¶ 24.
                  Apart from the social cost of carbon, petitioners insist that
             the Commission failed to heed our instruction on remand to
             also consider whether Section 1502.21(c)(4) required the
             application of “some other analytical framework” to determine
             GHG significance. See Vecinos I, 6 F.4th at 1329–30.
             Specifically, petitioners argue that the Commission “simply
             could have made an ad-hoc determination of significance” like
             it did in Northern Natural Gas Co., 174 FERC ¶ 61,189 (Mar.
             22, 2021). No. 23-1174 Petitioners’ Brief 58; No. 23-1175
             Petitioners’ Brief 52 (same). There, the Commission found
             that a project’s operations would increase national GHG
             emissions by only 0.000006%. N. Nat., 174 FERC ¶ 61,189,
             ¶ 34. The Commission then concluded that “[h]owever [its]
             approach to the significance analysis evolves, the reasonably
             foreseeable GHG emissions associated with th[e] project
             would not be considered significant.” Id. ¶ 33. Petitioners
             argue that the converse is true here and that the Commission
             could have applied Northern Natural’s logic to conclude that
             the projects’ GHG emissions were significant. They also assert
             that other regulations beyond Section 1502.21(c) require the
             Commission to “evaluate the significance of greenhouse gas
             emissions somehow.” No. 23-1174 Petitioners’ Brief 57 (citing
             18 C.F.R. § 380.7(a), (d) and 40 C.F.R. § 1502.16(a)(1)
             (2020)); No. 23-1175 Petitioners’ Brief 52 (same). But
             petitioners never made any of these specific arguments to the
             Commission on rehearing. Because they offer no reasonable
             ground for failing to do so, we lack jurisdiction to consider the
             arguments on appeal. 15 U.S.C. § 717r(b).
                  Finally, petitioners advance related arguments that the
             Commission failed to explain the role GHG emissions played
             in the public interest determinations under NGA Sections 3 and




                                            32
USCA Case #23-1174     Document #2081045
                                #2068430               Filed: 10/21/2024
                                                              08/06/2024        Page 65
                                                                                     33 of 74
                                                                                           34




                                           33

             7. We considered and dispensed with those arguments in
             Vecinos II. 2021 WL 3716769, at *1 (denying the petitions “in
             all respects other than those ruled upon in the
             contemporaneously issued published opinion”). In Vecinos I,
             we remanded the Commission’s NGA determinations only
             insofar as the Commission relied on a GHG emissions analysis
             that did not grapple with the requirements of 40 C.F.R.
             § 1502.21(c)(4) (2020). See 6 F.4th at 1331. Because, on
             remand, the Commission adequately explained why Section
             1502.21(c) does not alter its GHG analysis, we see no reason
             to question the resulting NGA determinations on GHG
             grounds.
                                           III
                  The deficiencies discussed above warrant vacating the
             reauthorization orders for the projects. Although we do not
             take this step lightly, the circumstances here require it.
                  “Vacatur ‘is the normal remedy’ when we are faced with
             unsustainable agency action.” Bhd. of Locomotive Eng’rs &
             Trainmen v. Fed. R.R. Admin., 972 F.3d 83, 117 (D.C. Cir.
             2020) (quoting Allina Health Servs. v. Sebelius, 746 F.3d 1102,
             1110 (D.C. Cir. 2014)). We typically assess the decision to
             vacate based on two factors: “the seriousness of the order’s
             deficiencies (and thus the extent of doubt whether the agency
             chose correctly) and the disruptive consequences” of vacatur.
             Allied-Signal v. Nuclear Regul. Comm’n, 988 F.2d 146, 150
             (D.C. Cir. 1993).
                  “When an agency bypasses a fundamental procedural
             step,” the first factor asks “not whether the ultimate action
             could be justified, but whether the agency could, with further
             explanation, justify its decision to skip that procedural step.”
             Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs,
             985 F.3d 1032, 1052 (D.C. Cir. 2021). Here, the answer is no.




                                           33
USCA Case #23-1174     Document #2081045
                                #2068430               Filed: 10/21/2024
                                                              08/06/2024        Page 66
                                                                                     34 of 74
                                                                                           34




                                           34

             For both projects, the Commission failed to issue a
             supplemental EIS to account for its updated environmental
             justice analysis. And for the Rio Grande terminal, the
             Commission further failed to consider the company’s CCS
             proposal as part of its environmental review as either a
             connected action or a project alternative. For the reasons
             detailed above, we do not see how the Commission could
             justify its decision to skip those fundamental procedural steps.
                  We appreciate the significant disruption vacatur may cause
             the projects. But that does not outweigh the seriousness of the
             Commission’s procedural defects. Cf. Env’t Def. Fund v.
             FERC, 2 F.4th 953, 976 (D.C. Cir. 2021) (noting that “the
             second Allied-Signal factor is weighty only insofar as the
             agency may be able to rehabilitate its rationale” (quotation
             omitted)). In any event, even for the likely more substantial
             task on remand—consideration of the CCS proposal—Rio
             Grande itself stated to the Commission that an assessment
             could be done “expeditiously.” No. 23-1174 J.A. 715.
                  In addition, although we did not vacate the orders in our
             prior remand, we have explained that this fact can actually
             support vacatur where, as here, the agency “has yet again come
             up with insufficient support” for its action. Am. Pub. Gas Ass’n
             v. U.S. Dep’t of Energy, 72 F.4th 1324, 1343 (D.C. Cir. 2023)
             (quotation omitted).
                 We therefore grant the petitions for review in part, deny
             them in part, vacate both reauthorizations, and remand to the
             Commission for further proceedings consistent with this
             opinion.
                                                                 So ordered.




                                           34
USCA Case #23-1174   Document #2081045   Filed: 10/21/2024   Page 67 of 74




                     EXHIBIT B
USCA Case #23-1174    Document #2081045        Filed: 10/21/2024   Page 68 of 74



            UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT

 CITY OF PORT ISABEL, ET AL.,
                        Petitioners,
           v.                                             Nos. 23-1174 (L)
 FEDERAL ENERGY REGULATORY                                     23-1221
 COMMISSION,
                       Respondent,

 RIO BRAVO PIPELINE COMPANY, LLC; RIO
 GRANDE LNG, LLC
                     Intervenors for Respondent.




 CERTIFICATE AS TO PARTIES, AMICI AND RELATED CASES

      Under Circuit Rule 28(a)(1)(A), Intervenor Rio Grande LNG, LLC

submits this certificate as to parties, rulings, and related cases.

      1. Parties and Amici. The parties who have appeared before the

Court are listed in Petitioners’ Circuit Rule 28(a)(1) certificate.

      2. Rulings Under Review. The Petitioners seek review of two

orders of the Federal Energy Regulatory Commission; Rio Grande LNG,

LLC, 183 FERC ¶ 61,046 (April 21, 2023), R. 3011, JA1-176; and Rio

Grande LNG, LLC, 185 FERC ¶ 61,080 (October 27, 2023), R. 3080,

JA177-238.




                                     35
USCA Case #23-1174   Document #2081045        Filed: 10/21/2024   Page 69 of 74



      Related Cases: Pursuant to Circuit Rule 28(a)(1)(C), the

undersigned states that some of the issues raised in this case are

similar to the issues raised in the following case:

      1.   City of Port Isabel, et al. v. FERC, D.C. Circuit Case Nos. 23-

175 (L) and 23-1222 (concerning Texas LNG Brownsville LLC FERC

Dkt. CP16-116). On November 15, 2023, the Court Clerk granted

FERC’s motion to calendar that case and this one before the same

panel. (ECF No. 2027253).

                               ORRICK, HERRINGTON & SUTCLIFFE LLP

                               /s/ Robert M. Loeb
                               Robert M. Loeb
                               Counsel for Intervenor Rio Grande LNG,
                               LLC




                                    36
USCA Case #23-1174   Document #2081045   Filed: 10/21/2024   Page 70 of 74




                     EXHIBIT C
USCA Case #23-1174   Document #2081045     Filed: 10/21/2024   Page 71 of 74



            UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT

 CITY OF PORT ISABEL, ET AL.,
                        Petitioners,
           v.                                         Nos. 23-1174 (L),
 FEDERAL ENERGY REGULATORY                                23-1221
 COMMISSION,
                       Respondent,

 RIO BRAVO PIPELINE COMPANY, LLC; RIO
 GRANDE LNG, LLC
                     Intervenors for Respondent.




            CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure

Circuit Rule 26.1, Rio Grande LNG, LLC (“Rio Grande”) submits the

following required disclosure Statement as to its parent companies and

any publicly-held company that has a 10% or greater ownership interest

in Rio Grande:

      Rio Grande is a wholly owned indirect subsidiary of Rio Grande

LNG Intermediate Holdings, LLC (“RGIH”). NextDecade LNG, LLC

(“NextDecade LNG”) has a greater than 10% interest in RGIH.

NextDecade LNG’s parent company NextDecade Corporation is a

publicly traded company.




                                   37
USCA Case #23-1174   Document #2081045       Filed: 10/21/2024   Page 72 of 74



      TotalEnergies SE, a publicly traded global energy corporation

headquartered in France, has a greater than 10% interest in RGIH held

through its affiliate Global LNG North America Corp.

      Rio Grande is a limited liability company with its principal place

of business in Houston, Texas. Rio Grande is developing a liquefied

natural gas terminal that will be located on the Brownsville Ship

Channel in Cameron County, Texas.



                              ORRICK, HERRINGTON & SUTCLIFFE LLP

                              /s/ Robert M. Loeb
                              Robert M. Loeb
                              Counsel for Intervenor Rio Grande LNG,
                              LLC




                                   38
USCA Case #23-1174   Document #2081045       Filed: 10/21/2024   Page 73 of 74



                 CERTIFICATE OF COMPLIANCE

      This petition complies with the type-volume limitation of D.C. Cir.

R. 35(b)(2)(A) because this petition contains 3,899 words, excluding the

parts of the brief exempted by Fed. R. App. P. 32(f).

      This brief complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6)

because this brief has been prepared in a proportionally spaced typeface

using Microsoft Word 365 in Century Schoolbook 14-point font.

                              ORRICK, HERRINGTON & SUTCLIFFE LLP

                              /s/ Robert M. Loeb
                              Robert M. Loeb
                              Counsel for Intervenor Rio Grande LNG,
                              LLC
USCA Case #23-1174    Document #2081045       Filed: 10/21/2024   Page 74 of 74



                     CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the

Clerk of the Court for the United States Court of Appeals for the

District of Columbia Circuit by using the appellate CM/ECF system on

October 21, 2024.

      I certify that all participants in the case are registered CM/ECF

users and that service will be accomplished by the appellate CM/ECF

system.

                               ORRICK, HERRINGTON & SUTCLIFFE LLP

                               /s/ Robert M. Loeb
                               Robert M. Loeb
                               Counsel for Intervenor Rio Grande LNG,
                               LLC
